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11                        UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA

13
       TERRENCE PETERS, Individually
14     and On Behalf of All Others             Case No. 2:20-CV-08305-PSG-PVC
15
       Similarly Situated,
                                 Plaintiffs,
16                                             AMENDED CLASS ACTION
            v.
17
                                               COMPLAINT FOR VIOLATIONS
                                               OF THE FEDERAL SECURITIES
18     COLONY CREDIT REAL ESTATE,              LAWS
       INC., F/K/A COLONY
19
       NORTHSTAR CREDIT REAL
20     ESTATE, INC., RICHARD B.                JURY TRIAL DEMANDED
       SALTZMAN, KEVIN P.
21
       TRAENKLE, SUJAN S. PATEL,
22     NEALE W. REDINGTON,
       CATHERINE D. RICE, VERNON B.
23
       SCHWARTZ, DARREN J. TANGEN,
24     JOHN E. WESTERFIELD, AND
       WINSTON W. WILSON,
25

26                             Defendants.
27

28

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 1           Court-appointed Lead Plaintiffs Philip Nuccetelli, Alan Cohen, 1 and Roger P.
 2     Martyna (collectively, “Plaintiffs,” the “Colony Credit Investor Group” or “CCIG”), by
 3     and through undersigned counsel, bring this federal securities class action individually
 4     and on behalf of all other persons and entities (the “Class”2) that purchased or otherwise
 5     acquired the common stock of Colony Credit Real Estate, Inc. f/k/a Colony NorthStar
 6     Credit Real Estate, Inc. (“Colony Credit” or the “Company”), from February 1, 2018
 7     through November 9, 2019, inclusive (the “Class Period”), including those who
 8     purchased or otherwise acquired such common stock issued in, in connection with, or
 9     traceable to the combination of Colony NorthStar, Inc. (“Colony NorthStar”), NorthStar
10     Real Estate Income Trust, Inc. (“NorthStar I”), and NorthStar Real Estate Income II, Inc.
11     (“NorthStar II”), on or about January 31, 2018 (the “Merger”).
12           Plaintiffs’ claims are brought upon personal knowledge as to their own acts, and
13     upon information and belief as to all other matters, based upon, among other things, a
14     review and analysis of (1) reports and documents filed by Colony Credit with the U.S.
15     Securities & Exchange Commission (“SEC”); (2) reports issued by analysts covering or
16     concerning Colony Credit and its business; (3) press releases, news articles, transcripts,
17     and other public statements issued by or about Colony Credit, its business, and the
18           1
               Lead Plaintiff Alan Cohen pursues claims in this litigation both on his own
19     behalf and on behalf of his sister, Elizabeth Cohen, pursuant to a valid assignment of
       Elizabeth Cohen’s claims to Alan Cohen. See Mem. of P. & A. in Supp. of the Colony
20
       Credit Inv. Grp. [Mot.] for Appmt. as Lead Pl. & Approval of Lead Counsel 1 n.1, ECF
21     No. 14 (Nov. 9, 2020) (citing Assignment dated Nov. 6, 2020, ECF No. 15-1 (Nov. 9,
       2020), Ex. A to the Decl. of Jennifer Pafiti in Supp. of Mot. of the Colony Credit Inv.
22
       Grp. for Appmt. as Lead Pl. & Approval of Lead Counsel (“Pafiti Decl.”), ECF No. 15
23     (Nov. 9, 2020)).
             2
24             The following are excluded from the Class: (1) Defendants; (2) members of the
       immediate family of any Defendant who is a natural person; (3) any person who was an
25     officer or director of the Company during the Class Period; (4) any firm, trust,
26     corporation, or other entity in which any Defendant has or had a controlling interest; (5)
       the Company’s employee retirement and benefit plan(s), if any, and their participants or
27     beneficiaries; and (6) the legal representatives, affiliates, subsidiaries, parents, heirs,
28     heirs apparent, successors-in-interest, or assigns of any such excluded person or entity.
                                            1
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 1     Defendants; (4) an investigation conducted by Plaintiffs’ attorneys, including interviews
 2     with numerous confidential witnesses (“CWs”), including former Colony Credit
 3     employees; (6) consultations with experts; and (7) other publicly available information
 4     concerning Colony Credit, its business, and the allegations contained herein.
 5      I.   INTRODUCTION
 6           1.      This is a federal securities class action against Colony Credit and nine of its
 7     senior-most executives seeking damages and other legal and equitable remedies to
 8     redress harms caused by Defendants’ violations Sections 10(b) and 20(a) of the
 9     Exchange Act, codified as amended, 15 U.S.C. §§ 78j(b) & 78t(a), and of SEC Rule
10     10b–5, codified as amended, 17 C.F.R. § 240.10b–5.
11           2.      Colony Credit is a real estate investment trust (“REIT”). Among other
12     things, the Company originates, acquires, and manages loans collateralized by
13     commercial real estate (“CRE”), like hotels and shopping centers. Colony Credit has
14     claimed to be “one of the largest publicly traded CRE credit/mortgage REITs.”
15           3.      Plaintiffs bring this Action because, throughout the Class Period, Colony
16     Credit made false and materially misleading statements about the fair value of the hotel
17     collateralizing four of its largest loans. The company repeatedly informed investors that
18     the value of this hotel, The Row NYC, was between two and five times what the
19     Company knew the hotel to be worth.           The Company also omitted known trends
20     affecting the value of the hotel.
21           4.      Colony Credit was created through a merger of three affiliated entities on
22     January 31, 2018 (the “Merger”). In this combination, Colony Credit assigned a false,
23     astronomical valuation to The Row NYC, and concealed the identity of this hotel and
24     the severe financial problems it faced. After only 15 months, the Company finally
25     acknowledged a valuation of this hotel property that was half what they had previously
26     disclosed, and after 18 months, that valuation sank by four fifths.
27           5.      The Company’s series of false and misleading statements concerning the
28     valuation of the hotel collateralizing four of its largest loans began with the Company’s
                                             2
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 1     first SEC filings, the Registration Statement issued in connection with the Merger. The
 2     Registration Statement failed to state that: (i) the valuation of the collateral securing the
 3     hotel property had deteriorated throughout 2017; (ii) the Company’s valuation of the
 4     collateral at $260.2 million was overstated by over 400% in the Registration Statement
 5     because the collateral was worth only $50 million; (iii) the obligor on the notes securing
 6     the collateral had failed to make any payments on any such security instruments since
 7     April 2013; and (4) these problems created a substantial risk of loan impairments.
 8             6.      The Company maintained this artificially-inflated valuation over the course
 9     of its first two quarterly reporting periods. Each time, the Company failed to inform
10     investors that the hotel’s marketability and related expected cash flows were impaired,
11     and would continue to be impaired, because the borrower had made no principal
12     payments on the loans since April 2013.
13             7.      As the market learned of the nature and extent of the Company’s
14     dishonesty with each additional loan loss provision the Company recorded, each of
15     which constituted a partial corrective disclosure that the Company had wildly
16     overvalued the Hotel, the Company’s share price plummeted, and the Plaintiffs were
17     damaged. Nevertheless, each time after the Company adjusted the valuation of the hotel
18     property by recording additional loan loss provisions, the Company continued to
19     communicate to investors that the collateral was worth vastly more than it was.
20             8.      On November 6, 2018, the Company noted a $35.1 million impairment on
21     the hotel property loans, citing the borrower’s failure to remit payments due for 90 days,
22     but assured investors that the hotel was performing 70% better than the Company had
23     projected it would perform at the start of 2018. On this news, the price of Colony
24     Credit’s shares fell by $1.02 per share, to close at $16.97 per share on November 6,
25     2018.
26             9.      Then, on March 1, 2019, the Company took another $18.8 million
27     impairment on the hotel property loans, this time based on the unaudited, aspirational
28     valuation the seller’s real estate broker assigned to the property. Collectively, the
                                               3
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 1     November 6, 2018 and March 1, 2019 loan loss provisions brought the new valuation to
 2     $206.3—a loss of roughly on fifth of its value in half a year. On this news, the price of
 3     Colony Credit’s shares fell by $0.94 per share, to close at $16.49 per share on March 1,
 4     2019.
 5                   (a)   On August 8, 2019, the Company noted another loan loss provision
 6     on the hotel property loans as of June 30, 2019—this time, a staggering $104.3
 7     million—reducing the Company’s original valuation of the collateral by over one-half in
 8     just 18 months.      This time, the Company purported to blame a “significant
 9     deterioration” in the New York City hospitality industry—yet, analysts said that the
10     lodging industry was flourishing and on pace for a record-setting year. On this news,
11     the Company’s share price fell $2.00 per share, or more than 12%, over two consecutive
12     trading sessions, to close at $14.05 per share on August 12, 2019.
13                   (b)   Then, on November 8, 2019, the Company took yet another
14     impairment of $50 million on the hotel property loans—pegged to the Company’s
15     updated valuation of the properties at $52 million, four-fifths of its original valuation.
16     On this news, the price of Colony Credit’s shares fell by $2.99 per share over two
17     consecutive trading days, or nearly 21%, to close at $11.75 per share on November 8,
18     2019 and $11.29 per share on November 11, 2019.
19                   (c)   In total, upon the disclosures of Defendants’ wrongful acts and
20     omissions, the market value of Colony Credit has plummeted by hundreds of millions of
21     dollars. As a result of Defendants’ wrongful acts and omissions, and the precipitous
22     decline in the market value of Colony Credit’s securities, Plaintiffs and other members
23     of the Class suffered significant damages.
24     II.     JURISDICTION AND VENUE
25             10.   The claims asserted herein arise under Sections 10(b) and 20(a) of the
26     Exchange Act, 15 U.S.C. §§ 78j(b) & 78t(a), and pursuant to the rules and regulations
27     duly promulgated thereunder, including SEC Rule 10b–5, 17 C.F.R. § 240.10b–5.
28
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 1           11.    This Court has jurisdiction over the subject matter of this action pursuant to
 2     28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
 3           12.    Venue is proper in the Central District of California pursuant to Section 27
 4     of the Exchange Act, id. § 78aa, because Defendants transact business in this District
 5     and because the Company’s principal place of business is located in this District. Venue
 6     is also proper in this District pursuant to 28 U.S.C. §§ 1391(b)–(d) because many of the
 7     acts and transactions that constitute the violations of law complained of in this Amended
 8     Complaint, including the dissemination to the public of materially false or misleading
 9     statements, occurred in this District.
10           13.    In connection with the acts, omissions, conduct, and other wrongs alleged
11     herein, Defendants, directly or indirectly, used the means and instrumentalities of
12     interstate commerce, including, but not limited to, the U.S. mails, the facilities of the
13     national securities markets, and interstate telephonic and digital communications.
14 III.      PARTIES
15           A.     Lead Plaintiffs: Colony Credit Investor Group
16                  1.     Philip Nuccetelli
17           14.    Lead Plaintiff Philip Nuccetelli (“Nuccetelli”), a U.S. citizen domiciled in
18     the State of New Jersey, purchased or otherwise acquired Colony Credit common stock
19     at artificially inflated prices during the Class Period and was damaged upon the
20     revelation of the corrective disclosures alleged herein, as set forth in the Joint
21     Declaration in Support of Lead Plaintiff[s’] Motion ¶ 2, ECF No. 15-5 (Nov. 9, 2020)
22     (the “Joint Decl.”), attached as Ex. E to the Pafiti Decl. and incorporated herein by
23     reference.
24                  2.     Alan Cohen
25           15.    Lead Plaintiff Alan Cohen (“Cohen”), a U.S. citizen domiciled in the State
26     of Alabama, purchased or otherwise acquired Colony Credit common stock at
27     artificially inflated prices during the Class Period and was damaged upon the revelation
28     of the corrective disclosures alleged herein, as set forth in the Joint Decl. ¶ 3.
                                          5
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                  3.     Roger P. Martyna
 1
           16.    Lead Plaintiff Roger P. Martyna (“Martyna”), a U.S. citizen domiciled in
 2
     the State of Washington, purchased or otherwise acquired Colony Credit common stock
 3
     at artificially inflated prices during the Class Period and was damaged upon the
 4
     revelation of the corrective disclosures alleged herein, as set forth in the Joint Decl. ¶ 4.
 5
           17.    Nuccetelli, Cohen, and Martyna are collectively referred to herein as
 6
     “Plaintiffs,” the “Colony Credit Investor Group,” or “CCIG.”
 7
                  4.     Terrence Peters
 8
           18.    Plaintiff Terrence Peters (“Peters”) purchased or otherwise acquired
 9
     Colony Credit common stock at artificially inflated prices during the Class Period and
10
     was damaged upon the revelation of the corrective disclosures alleged herein, as set
11
     forth in the Certification appended to the original complaint. See ECF No. 1-1 (Sept.
12
     10, 2020).
13
           B.     Defendants
14
                  1.     Colony Credit Real Estate, Inc. (“Colony Credit” or the
15                       “Company”)
16         19.    Defendant Colony Credit Real Estate, Inc. (“Colony Credit” or the
17   “Company”) is a Maryland corporation, with executive offices located at 515 South
18   Flower Street, 44th Floor, Los Angeles, California 90071. The Company’s securities
19   trade in an efficient market on the New York Stock Exchange under the ticker symbol
20   “CLNC.”
21         20.    Defendant Colony Credit is liable for the acts of its executives, directors,
22   officers, and agents at common law and under the doctrine of respondeat superior
23   because all the wrongful acts and omissions complained of in this Amended Complaint
24   were carried out during and within the scope of each such person’s employment. The
25   scienter of Colony Credit’s executives, directors, officers, and agents is similarly
26   imputed to Colony Credit under established agency principles.
27

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                  2.    Individual Defendants
 1
           21.    Defendant Richard B. Saltzman (“Saltzman”) was, at all relevant times, the
 2
     Chairman of the Company’s Board of Directors and the President and Chief Executive
 3
     Officer of Colony Capital, Inc. As of the date of this Amended Complaint, Saltzman is
 4
     the Chairman of the Company’s Board of Directors. Saltzman is also the Chairman of
 5
     the Board of Trustees of North Star Realty Europe, a director of Kimco Realty
 6
     Corporation, a non-executive director of Equiem Services Limited, and a non-executive
 7
     director of Louw & Company. In the past, Saltzman was a Managing Director and Vice
 8
     Chairman of Merrill Lynch’s investment banking division.         Saltzman signed the
 9
     Company’s Registration Statement. Saltzman also signed the Company’s annual reports
10
     dated March 1, 2019 and February 28, 2020, both filed on SEC Form 10-K.
11
           22.    Defendant Kevin P. Traenkle (“Traenkle”) was, at all relevant times, the
12
     President and Chief Executive Officer of the Company, as well as a director. The
13
     Company announced Traenkle’s resignation on February 27, 2020, effective two days
14
     later, on February 29, 2020. Traenkle signed the Company’s Registration Statement.
15
     Additionally, Traenkle signed the Company’s annual reports dated March 1, 2019 and
16
     February 28, 2020, both filed on SEC Form 10-K. Traenkle also signed the Company’s
17
     quarterly reports dated May 18, 2018, August 9, 2018, November 9, 2018, May 9, 2019,
18
     and November 8, 2019, all filed on SEC Form 10-Q.            Further, Traenkle signed
19
     certifications pursuant to 17 C.F.R. §§ 240.13a–14(a) & 240.15(d)–14(a), promulgated
20
     under section 302 of the Sarbanes-Oxley Act of 2002, codified as amended, 15 U.S.C. §
21
     7241, and pursuant to section 906 of the Sarbanes-Oxley Act of 2002, codified as
22
     amended, 18 U.S.C. § 1350, attesting to the veracity of the statements in each of the
23
     foregoing quarterly reports.
24
           23.    Defendant Sujan S. Patel (“Patel”) was, at all relevant times until his
25
     resignation effective November 9, 2018, the Chief Financial Officer (“CFO”) and
26
     Treasurer of the Company.       Patel signed the Company’s Registration Statement.
27
     Additionally, Patel signed the Company’s quarterly reports dated May 18, 2018 and
28
                                        7
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 1   August 9, 2018, both filed on SEC Form 10-Q. Additionally, Patel signed certifications
 2   pursuant to 17 C.F.R. §§ 240.13a–14(a) & 240.15(d)–14(a), promulgated under section
 3   302 of the Sarbanes-Oxley Act of 2002, codified as amended, 15 U.S.C. § 7241, and
 4   pursuant to section 906 of the Sarbanes-Oxley Act of 2002, codified as amended, 18
 5   U.S.C. § 1350, attesting to the veracity of the statements in both of the foregoing
 6   quarterly reports.
 7         24.    Defendant Neale W. Redington (“Redington”) was, at all relevant times
 8   beginning on November 9, 2018, the CFO and Treasurer of the Company. At all
 9   relevant times before November 9, 2018, Redington was the Company’s Chief
10   Accounting Officer (“CAO”). Redington signed the Company’s Registration Statement.
11   Additionally, Redington signed the Company’s annual reports dated March 1, 2019 and
12   February 28, 2020, both filed on SEC Form 10-K.            Redington also signed the
13   Company’s quarterly reports dated May 18, 2018, August 9, 2018, November 9, 2018,
14   May 9, 2019, and November 8, 2019, all filed on SEC Form 10-Q. Further, Redington
15   signed certifications pursuant to 17 C.F.R. §§ 240.13a–14(a) & 240.15(d)–14(a),
16   promulgated under section 302 of the Sarbanes-Oxley Act of 2002, codified as
17   amended, 15 U.S.C. § 7241, and pursuant to section 906 of the Sarbanes-Oxley Act of
18   2002, codified as amended, 18 U.S.C. § 1350, attesting to the veracity of the statements
19   in the aforementioned quarterly reports dated November 9, 2018, May 9, 2019, and
20   November 8, 2019.
21         25.    Defendant Catherine D. Rice (“Rice”) was, at all relevant times, a director
22   of the Company, and signed the Company’s Registration Statement. Additionally, Rice
23   signed the Company’s annual reports dated March 1, 2019 and February 28, 2020, both
24   filed on SEC Form 10-K.
25         26.    Defendant Frank V. Saracino (“Saracino”) was, at all relevant times
26   beginning on November 9, 2018, the Company’s CAO. At all relevant times prior to
27   November 9, 2018, Saracino was the Managing Director of Colony Capital, Inc., “where
28   his responsibilities include[d] financial accounting and reporting for Colony Capital
                                        8
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 1   managed non-listed real estate investment trusts and registered closed-end investment
 2   reporting companies as Chief Financial Officer.”      Saracino signed the Company’s
 3   Registration Statement. Additionally, Saracino signed the Company’s annual reports
 4   dated March 1, 2019 and February 28, 2020, both filed on SEC Form 10-K. Saracino
 5   also signed the Company’s quarterly reports dated November 9, 2018, May 9, 2019, and
 6   November 8, 2019, all filed on SEC Form 10-Q.
 7         27.   Defendant Vernon B. Schwartz (“Schwartz”) was, at all relevant times, a
 8   director of the Company, and signed the Company’s Registration Statement.
 9   Additionally, Schwartz signed the Company’s annual reports dated March 1, 2019 and
10   February 28, 2020, both filed on SEC Form 10-K.
11         28.   Defendant Darren J. Tangen (“Tangen”) was, at all relevant times, a
12   director of the Company, and signed the Company’s Registration Statement.
13   Additionally, Tangen signed the Company’s annual reports dated March 1, 2019 and
14   February 28, 2020, both filed on SEC Form 10-K.
15         29.   Defendant John E. Westerfield (“Westerfield”) was, at all relevant times, a
16   director of the Company, and signed the Company’s Registration Statement.
17   Additionally, Westerfield signed the Company’s annual reports dated March 1, 2019
18   and February 28, 2020, both filed on SEC Form 10-K.
19         30.   Defendant Winston W. Wilson (“Wilson”) was, at all relevant times, a
20   director of the Company, and signed the Company’s Registration Statement.
21   Additionally, Wilson signed the Company’s annual reports dated March 1, 2019 and
22   February 28, 2020, both filed on SEC Form 10-K.
23         31.   All references to “Individual Defendants” in this Amended Complaint are
24   to Saltzman, Traenkle, Patel, Redington, Rice, Saracino, Schwartz, Tangen, Westerfield,
25   and Wilson, jointly and severally.
26         32.   The Individual Defendants possessed the power and authority to control the
27   contents of Colony Credit’s SEC filings, press releases, and other market
28   communications. The Individual Defendants were provided with copies of Colony
                                        9
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 1   Credit’s SEC filings and press releases alleged herein to be misleading prior to or
 2   shortly after their issuance and had the ability and opportunity to prevent their issuance
 3   or to cause them to be corrected. Because of their positions with Colony Credit, and
 4   their access to material information available to them but not to the public, the
 5   Individual Defendants knew that the adverse facts specified herein had not been
 6   disclosed to and were being concealed from the public, and that the positive
 7   representations being made were then materially false and misleading. The Individual
 8   Defendants are liable for the false statements and omissions pleaded herein.
 9         33.    All references to the “Defendants” in this Amended Complaint are to
10   Colony Credit, Saltzman, Traenkle, Patel, Redington, Rice, Schwartz, Tangen, Saracino,
11   Westerfield, and Wilson, jointly and severally.
12 IV.     SUBSTANTIVE ALLEGATIONS
13         A.     Company Background
14                1.     Colony Credit Business
15         34.    Colony Credit is a commercial real estate (“CRE”) credit real estate
16   investment trust (“REIT”) that manages a portfolio of CRE senior mortgage loans,
17   mezzanine loans, preferred equity, debt securities, and net-leased properties principally
18   in the United States. A REIT is a corporation, trust, or association that invests in certain
19   income-producing interests in one or more real properties or certain other qualifying
20   income-producing real estate-related assets. REITs often manage and operate the real
21   properties in which they hold an interest.
22         35.    The Company conducts almost all of its activities and holds nearly all of its
23   assets and liabilities through an operating subsidiary, Credit RE Operating Company,
24   LLC (the “OP”), of which the Company owns 97.6% as the OP’s sole managing
25   member.
26
27

28
                                       10
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                  2.      Formation of Colony Credit through 2018 Merger
 1
           36.    Colony Credit was incorporated in Maryland on August 23, 2017 under its
 2
     original name, Colony NorthStar Credit Real Estate, Inc. (“CNCRE”), and originally
 3
     wholly owned by Colony Northstar Inc. (“Colony Northstar”).
 4
           37.    On or about January 31, 2018, CNCRE merged with NorthStar I and
 5
     NorthStar II (the “Merger”).
 6
           38.    NorthStar I and NorthStar II were REITs with diversified portfolios of
 7
     CRE debt, including select equity and securities investments, predominantly in the U.S.
 8
     Their debt investments included first mortgage loans, subordinate mortgage and
 9
     mezzanine loans, and participations in such loans and preferred equity interests through
10
     real estate private equity funds. Their CRE securities primarily consisted of commercial
11
     mortgage-backed securities.
12
           39.    The Chairman, CEO, and President of NorthStar I and Northstar II was
13
     Daniel R. Gilbert.
14
           40.    The Merger specifically consisted of a combination of substantially all of
15
     the assets and liabilities of NorthStar I and all of the assets and liabilities of NorthStar
16
     II, together with a select portfolio of Colony Northstar’s majority-owned subsidiary
17
     Colony Capital Operating Company, LLC (“CLNY OP”) assets and liabilities (the
18
     “CLNY OP Contributed Entities”), and a select portfolio of assets and liabilities of NRF
19
     RED REIT Corp. (“RED REIT”), an indirect subsidiary of CLNY OP (the “RED REIT
20
     Contributed Entities”).3
21

22   3
       The Merger consisted of the following steps: (i) CLNY OP received approximately
23   44.4 million shares of the Company’s Class B-3 common stock in exchange for the
     CLNY OP Contributed Entities, and RED REIT received approximately 3.1 million
24   common membership units in the OP in exchange for the RED REIT Contributed
25   Entities; (ii) NorthStar I merged with and into the Company, with stockholders of
     NorthStar I (including Colony Capital, Inc. and its affiliates) receiving 0.3532 shares of
26   the Company’s Class A common stock for each share of NorthStar I common stock they
27   owned, for a total of approximately 42.1 million shares of the Company’s Class A
     common stock; (iii) NorthStar II merged with and into the Company, with stockholders
28   of NorthStar II (including Colony Capital, Inc. and its affiliates) receiving 0.3511 shares
                                       11
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 1         41.    Upon the Merger, Defendant Traenkle became CEO and Defendant Patel
 2   became CFO of the Company.
 3         42.    On June 25, 2018, the merged entity CNCRE changed its name to Colony
 4   Credit Real Estate, Inc. (“Colony Credit” or “the Company”).
 5         B.     History of Row Hotel NYC Ownership Pre-Merger
 6         43.    The Row Hotel NYC (the “Hotel”) is an historic hotel located at 700
 7   Eighth Avenue, one block west of Times Square, in New York City. The Hotel has 27
 8   stories and 1,331 hotel rooms. The Hotel opened on or about February 13, 1928 as the
 9   Hotel Lincoln. In September 1957, the Hotel was renamed the Manhattan Hotel and
10   remodeled. Six years later, the Hotel changed hands again and, between 1964 through
11   1980, it was operated as the Royal Manhattan. In 1980, the Milstein family purchased
12   the Hotel and renamed it the Milford Plaza Hotel. As the Milford Plaza Hotel, the
13   property was known informally as the “Lullaby of Broadway.”
14         44.    In February 2010, Rockpoint Group (“Rockpoint”) and Highgate Holdings,
15   Inc. (“Highgate”) purchased the Hotel for approximately $200 million. Three years
16   later, in February 2013, the property was renamed The Milford New York Hotel and
17   partitioned into three parcels: (1) the land (the “Land”), (2) the hotel units collectively
18   (the “Hotel Property”), and (3) the retail units (the “Retail Property”).
19         45.    On April 30, 2013, two NorthStar entities, NorthStar MP Senior Loan,
20   LLC (a wholly-owned subsidiary of NorthStar I) (“Northstar LLC”) and Colony
21   NorthStar, originated a $255 million senior mortgage loan to Rockpoint and Highgate
22

23   of the Company’s Class A common stock for each share of NorthStar II common stock
24   they owned, for a total of approximately 40.4 million shares of the Company’s Class A
     common stock; and (iv) Colony Credit contributed to its operating company: (a) the
25   CLNY OP Contributed Entities, (b) the equity interests of NorthStar Real Estate Income
26   Trust Operating Partnership, LP (“NorthStar I OP”), the operating partnership of
     NorthStar I, and (c) the equity interests of NorthStar Real Estate Income Operating
27   Partnership II, LP (NorthStar II OP”), the operating partnership of NorthStar II, and in
28   connection with that transaction received approximately 126.9 million OP Units.
                                       12
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 1   (the “April 2013 Mortgage & Loan Agreement”). Pursuant to the April 2013 Mortgage
 2   & Loan Agreement, NorthStar LLC and Colony NorthStar collectively acquired a 35%
 3   leasehold interest in the Hotel Property and Retail Property, along with certain rights in
 4   the revenues generated from each.
 5         46.    NorthStar LLC’s rights in the April 2013 Mortgage & Loan Agreement
 6   were assigned and re-assigned to different entities—all owned or controlled by
 7   NorthStar I or Colony NorthStar—between 2013 and 2018.4 On the day prior to the
 8   Merger, NorthStar I was the ultimate owner of NorthStar LLC’s original leasehold
 9   interests in the Hotel pursuant to the April 2013 Mortgage & Loan Agreement. In the
10   Merger, the Company acquired NorthStar I’s leasehold interests in the Hotel, and
11   retained those interests throughout the Class Period.
12   4
       On September 3, 2013, Northstar LLC assigned its rights in the April 2013 Mortgage
13   & Loan Agreement to NRFC Participator, LLC. The same day, on September 3, 2013,
     NRFC Participator, LLC assigned all of its rights in the April 2013 Mortgage & Loan
14   Agreement to U.S. Bank National Association, as Trustee for the Beneficial Owner of
15   the NorthStar 2013 1 Grantor Trust, Series A. Colony NorthStar was the ultimate
     Beneficial Owner of the NorthStar 2013 1 Grantor Trust, Series A between September 3,
16   2013 and February 26, 2017, through Colony Capital Operating Company, LLC, Colony
17   Capital OP Subsidiary, LLC, Colony Capital Investment Holdco, LLC, NorthStar Asset
     Management Group, LLC, and NS Servicing II, LLC.
18
     On February 27, 2017, U.S. Bank National Association, as Trustee for the Beneficial
19   Owner of the NorthStar 2013 1 Grantor Trust, Series A, assigned all of its rights in the
20   April 2013 Mortgage & Loan Agreement to MS Loan NT I, LLC. On July 11, 2017,
     MS Loan NT I, LLC purported to assign all of its rights in the April 2013 Mortgage &
21   Loan Agreement to NS Income DB Loan, Series VI, A Series of NS Income DB Loan,
22   LLC. Between February 27, 2017 and July 10, 2017, the April 2013 Mortgage & Loan
     Agreement was owned by NorthStar I, through NorthStar Real Estate Income Trust
23   Operating Partnership, LP, the sole member of MS Loan NT-I, LLC. Between July 11,
24   2017 and June 3, 2018, the April 2013 Mortgage & Loan Agreement was also owned by
     NorthStar I, through NorthStar Real Estate Income Trust Operating Partnership LP, the
25   sole member of NS Income DB Loan, LLC.
26   Pursuant to a document filed with the New York City recorder on April 30, 2020, on
27   June 4, 2018, NS Income DB Loan, Series VI, A Series of NS Income DB Loan, LLC,
     assigned all of its rights in the April 2013 Mortgage & Loan Agreement to CLNC Credit
28   SL MLFD, LLC. Colony Credit is the sole member of CLNC Credit SL MLFD, LLC.
                                       13
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           C.    Beginning in September 2017, the Hotel Contracted with the City of
 1               New York: Guaranteed Occupancy in Exchange for Sheltering
                 Homeless Guests
 2
           47.   Beginning in September 2017, the New York City Department of
 3
     Homeless Services (“DHS”) began to offer commercial hotels $220 per night per room
 4
     as part of its “Turning the Tide” program to address street homelessness in New York
 5
     City. The Hotel participated in this program.
 6
           48.   From December 2017 through August 2018, the Hotel made 46 of its guest
 7
     rooms available to the Traveler’s Safe Haven, Urban Pathways, Safe Haven program
 8
     pursuant to a contract with the New York City Department of Homeless Services
 9
     (“DHS”).
10
           49.   Beginning in September 2018 and continuing through the end of the Class
11
     Period, the Hotel made 50 of its guest rooms available to the Traveler’s Safe Haven,
12
     Urban Pathways, Safe Haven program, pursuant to two contracts with DHS.
13
           50.   According to DHS:
14

15
           Safe Havens are facilities with physical and program characteristics
           specifically targeted toward homeless individuals living on the streets who
16         may be resistant to accepting other services, including traditional shelters.
17
           Safe Havens are equipped with on-site services and outreach staff who
           work closely with clients to deepen relationships, help stabilize their lives,
18         and, ultimately, encourage them to transition further off the streets and into
19
           permanent housing.

20         51.   Many Hotel guests not participating in the Turning the Tide program
21   reacted negatively to the Hotel’s participation. On October 11, 2017, a guest left a
22   negative review of the Hotel on Yelp, stating, “The taxpayers are now paying for
23   homeless people to live in this hotel. I will never stay here again.”5 On November 12,
24   2019, a different guest offered the following review:
25

26
     5
                                          https://www.yelp.com/biz/row-nyc-new-
27   york2?hrid=31OjX6mHhplq5ryWTvoSAw&utm_
28   campaign=www_review_share_popup&utm_medium=copy_link&utm_source=(direct).
                                       14
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            Do not stay there! This hotel houses a HOMELESS SHELTER on site. I
 1          tried to get my money back after realizing this but they denied the request.
            I paid for a run down hotel with guards and a lobby full of people milling
 2          about. Again, don’t stay there. This is fraud. I booked thru Priceline and
            they too, declined my request. And they had the audacity to give 4 stars to
 3          this place.6
 4          D.     Beginning on February 1, 2018 in the Company’s Registration
                   Statement, the Company Overvalued the Hotel and Continued Grossly
 5                 To Overvalue the Hotel Throughout the Class Period
 6          52.    Beginning in the Registration Statement and in each subsequent disclosure
 7   throughout the Class Period, the Company valued the Hotel when determining its value
 8   as loan collateral at between two and five times its fair value, or the value of the Hotel
 9   as determined using a discounted cash flow analysis based on the Hotel’s operating
10   results.
11          53.    In defining “fair value of loans receivable” in the Registration Statement
12   and Prospectus issued in connection with the Merger, the Company stated:
13          The fair value of loans receivable was determined by comparing the current
14          yield to the estimated yield for newly originated loans with similar credit
            risk or the market yield at which a third party might expect to purchase
15          such investment or based on DCF projections of principal and interest
16          expected to be collected, which include consideration of borrower or
            sponsor credit, as well as operating results of the underlying collateral.
17

18          54.    The Company also explained that it routinely analyzed the operating results
19   of the properties collateralizing its loans to assess whether to record a loan impairment.
20          Impairment and Allowance for Loan Losses—On a periodic basis, we
21          analyze the extent and effect of any credit migration from underwriting and
            the initial investment review associated with the performance of a loan
22          and/or value of its underlying collateral, financial and operating capability
23          of the borrower or sponsor, as well as amount and status of any senior loan,
            where applicable. Specifically, operating results of collateral properties
24
            and any cash reserves are analyzed and used to assess whether cash from
25          operations are sufficient to cover debt service requirements currently and
26
     6
                                        https://www.yelp.com/biz/row-nyc-new-york-
27   2?hrid=oqDHvZVjUf0IVd4ANycrwA&utm_campaign=www_review_share_popup&ut
28   m_medium=copy_link&utm_source=(direct).
                                          15
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 1
           into the future, ability of the borrower to refinance the loan, liquidation
           value of collateral properties, financial wherewithal of any loan guarantors
 2         as well as the borrower’s competency in managing and operating the
 3
           collateral properties.

 4         55.      The Company further assured investors with respect to Northstar I
 5   properties:
 6
           It was determined that the current yields for NorthStar I’s and NorthStar
 7         II’s loans receivable approximated current market yields, and
 8
           therefore fair value for the loans receivable was deemed to equal each
           loan’s outstanding principal amount, plus the undiscounted value of any
 9         contractual exit fees associated with the loan.7
10
           56.      That is, in the Registration Statement and Prospectus, the Company implied
11
     that the value of the Hotel was equal to the Hotel loans’ outstanding principal amount,
12
     which at the time was approximately $260 million. The Company also made clear that
13
     one proper method of calculating the fair value of collateral underlying the Company’s
14
     loans is with reference to the operating results of the underlying collateral. Indeed, the
15
     most widely used method for valuing CRE is with reference to the operating results of
16
     the underlying collateral. The Company recognized that a proper valuation of real
17
     estate like the Hotel should be “based on historical and projected income” 8 and an
18
     analysis of “occupancy trends, lease or room rates.” 9 The Company noted “Hotel
19
     operating income includes room revenue, food and beverage sales and other ancillary
20
     services.”10
21
     7
22    Colony NorthStar Credit Real Estate, Inc., Notes to the Unaudited Pro Forma
     Condensed Combined Financial Statements, Index to Financial Statements, Prospectus,
23   SEC Form 424B3 at F-16 (Dec. 6, 2017).
24   8
      Colony NorthStar Credit Real Estate, Inc., Summary, SEC Form 424B3 at 67 (Dec. 6,
25
     2017).
     9
      Colony NorthStar Credit Real Estate, Inc., Report of Independent Registered Public
26
     Accounting Firm, Annex H-1, Prospectus, SEC Form 424B3 at H-1-21 (Dec. 6, 2017).
27   10
       Colony NorthStar Credit Real Estate, Inc., Report of Independent Registered Public
28   Accounting Firm, Annex H-1, Prospectus, SEC Form 424B3 at H-1-21 (Dec. 6, 2017).
                                       16
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 1         57.    The Company also knew that DHS intended to continue the Safe Haven
 2   homeless services contract. Indeed, the Safe Haven program had used the [Hotel] since
 3   September, and both the community board and local elected officials were notified—but
 4   not the public and not those staying at the hotel. The Company also knew that DHS’s
 5   planned phaseout of commercial hotels [was] not expected until 2023.             Yet, the
 6   Company never disclosed that the Hotel was being used as a homeless shelter.
 7         E.     The Company’s Overvaluation of the Row Hotel on May 18, 2018
 8         58.    On May 18, 2018, the Company reported its earnings results for the period
 9   ended March 31, 2018, for the first quarter of 2018 (“1Q18”) on a Quarterly Report on
10   SEC Form 10-Q (the “1Q18 10-Q”). Therein, after acknowledging for the first time that
11   the borrowers on the Hotel loans had failed to make its interest payment, the Company
12   stated that the value of the Hotel was $260.2 million, in stating that the “fair value” of
13   the Hotel was equal to the outstanding principal loan balances.         Specifically, the
14   Company disclosed i that
15         In March 2018, the borrower on the Company’s $260.2 million NY
16         hospitality loan failed to make its interest payment. The Company has
           placed the loan on non-accrual status and has commenced discussions with
17         the borrower to resolve the matter. No provision for loan loss was
18         recorded during the three months ended March 31, 2018 as the
           Company believes sufficient collateral value exists to cover the
19         outstanding loan balances.
20
           59.    In describing the factors that the Company considers to determine whether
21
     to note an impairment or allowance for loan losses, the Company stated in the 1Q18
22
     10-Q that “[l]oans are considered to be impaired when it is probable that the Company
23
     will not be able to collect all amounts due in accordance with contractual terms of the
24
     loans, including consideration of underlying collateral value. Allowance for loan losses
25
     represents the estimated probable credit losses inherent in loans held for investment at
26
     balance sheet date.” Additionally, the Company stated in the 1Q18 10-Q that
27

28
                                       17
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 1
           On a periodic basis, the Company analyzes the extent and effect of any
           credit migration from underwriting and the initial investment review
 2         associated with the performance of a loan and/or value of its underlying
 3
           collateral, financial and operating capability of the borrower or
           sponsor, as well as amount and status of any senior loan, where applicable.
 4         Specifically, operating results of collateral properties and any cash
 5
           reserves are analyzed and used to assess whether cash from operations
           are sufficient to cover debt service requirements currently and into the
 6         future, ability of the borrower to refinance the loan, liquidation value of
 7         collateral properties, financial wherewithal of any loan guarantors as well
           as the borrower’s competency in managing and operating the collateral
 8         properties. Such analysis is performed at least quarterly, or more often
 9         as needed when impairment indicators are present.

10         60.   Additionally, the Company’s 1Q18 10-Q represented that “[t]here were no
11   loans modified as TDRs during the three months ended March 31, 2018 and year ended
12   December 31, 2017.”      In the 1Q18 10-Q, the Company defined “Troubled Debt
13   Restructuring (‘TDR’)” as:
14
           A loan with contractual terms modified in a manner that grants
15         concession to the borrower who is experiencing financial difficulty is
16         classified as a TDR. Concessions could include term extensions, payment
           deferrals, interest rate reductions, principal forgiveness, forbearance, or
17         other actions designed to maximize the Company’s collection on the loan.
18         As a TDR is generally considered to be an impaired loan, it is measured
           for impairment based on the Company’s allowance for loan losses
19         methodology.
20
           61.   Furthermore, the 1Q18 10-Q explains that
21

22         For loans held for investment, net, fair values were determined: (i) by
           comparing the current yield to the estimated yield for newly originated
23         loans with similar credit risk or the market yield at which a third party
24         might expect to purchase such investment; or (ii) based on discounted
           cash flow projections of principal and interest expected to be collected,
25         which includes consideration of the financial standing of the borrower
26         or sponsor as well as operating results of the underlying collateral . . . .

27

28
                                       18
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 1         62.   The Company made similar disclosures in its quarterly and annual filings
 2   throughout the Class Period.
 3         63.   In the Company’s 1Q18 10-Q, the Company again represented to investors
 4   that an appropriate means of valuing collateral assets, including the Hotel, was through
 5   consideration of the operating results of the underlying collateral. Accordingly, the
 6   $260.2 million valuation of the Hotel in the 1Q18 10-Q represented to investors that the
 7   Hotel generated sufficient revenues and net incomes from operations (“NOI”) to cover
 8   the $260.2 million balance on the loans.
 9         64.   In fact, the Company demonstrably knew as of May 18, 2018 that the fair
10   value of the Hotel, based on its operating performance, was less than approximately
11   $132 million, and likely far less. As explained below, at teleconferences in August and
12   November 2018, Defendant Patel stated that “2018 projected NOI [net operating
13   income] has increased approximately 70% from the beginning of the year.” Yet in
14   November 2018, at the same time the Company claimed to be outperforming by 70%
15   the projected income estimates made prior to January 2018, the Company recorded a
16   $35 million provision for loan losses for the four loans secured by the Hotel. This
17   statement implies that as of January 2018, the Company knew the Hotel to be
18   performing at a rate that, if increased by 70%, would amount to a valuation of the Hotel
19   that would result in a $35 million impairment.        Accordingly, by arithmetic, the
20   Company knew in January 2018 that the Hotel, valued based on the Hotel’s
21   performance, was less than approximately $132 million. 11
22

23   11
       The calculation runs as follows. $260.2 million less a $35 million write-down equals
24   $225.2 million, the minimum value the Company claimed the Hotel to be worth in
     November 2018, when the hotel was performing 70% above the level predicted as of
25   January 2018. To solve for the value of the Hotel (based on income) in January 2018,
26   one may solve for x in an equation where x represents the value of the Hotel (based on
     income) that, when increased by 70%, equals $225.2 million, i.e., the equation 1.70x =
27   $225.2 million. Solving for x, x is equal to $225.2 million divided by 1.7, which is
28   equal to $132.47 million.
                                       19
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 1         65.    Moreover, the borrower had never made any payments on the principal
 2   balance of the loans since undertaking the obligations in April 2013, and as of, at the
 3   latest, the first quarter of 2018, the borrower was failing even to make interest
 4   payments. The Company also knew that DHS intended to continue the Safe Haven
 5   homeless services contract and that DHS’s planned phaseout of commercial hotels was
 6   not expected until 2023.” Yet the Company never disclosed that the Hotel was used as a
 7   homeless shelter.   Likewise, Company’s statement, that “sufficient collateral value
 8   exists to cover the outstanding balances,” omitted to state that the Company had not
 9   sought independent appraisal of the Hotel’s value.
10         66.    Investors had no way of discovering the false and materially misleading
11   statements underlying the Company’s valuation of the Hotel as of May 18, 2018
12   because the Company never disclosed to investors that the Hotel was the collateral
13   securing the “NY hospitality loan.”
14         F.     The Company’s Continued Overvaluation of the Row Hotel on August
                  9, 2018
15
           67.    On August 9, 2018, the Company reported its earnings results for the
16
     period ended June 30, 2018, for the second quarter of 2018 (“2Q18”) on a Quarterly
17
     Report on SEC Form 10-Q (the “2Q18 10-Q”). Therein, the Company stated again that
18
     the value of the Hotel was $260.2 million or $261.1 million, 12 in stating that there was
19
     sufficient collateral value to cover the outstanding principal loan balances. Specifically,
20
     the Company disclosed that:
21

22
           In March 2018, the borrower on the Company’s four NY hospitality loans
           with an unpaid principal balance of $260.2 million failed to make its
23         interest payment. The Company has placed the loans on non-accrual status
24
           and has commenced discussions with the borrower to resolve the matter.
           Interest income is recognized on a cash basis. No provision for loan loss
25         was recorded during the three and six months ended June 30, 2018 as
26
27   12
       Throughout the 2Q18 10-Q, the Company ascribes inconsistent values to the Hotel
28   loans.
                                       20
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 1
           the Company believes sufficient collateral value exists to cover the
           outstanding loan balances.
 2

 3         68.      On August 7, 2018, during a conference call with investors to discuss the

 4   Company’s second quarter 2018 earnings results, Defendant Patel stated:

 5         Ultimately, we believe this asset’s performance will improve as the New
 6
           York City hospitality market emerges from recent oversupply issues.
           Through the first six months of this year, the asset is already seeing
 7         positive top and bottom line growth, and its 2018 projected NOI has
 8
           increased approximately 70% from the beginning of the year.

 9         69.      Additionally, the 2Q18 10-Q represented that “[t]here were no loans
10   modified as TDRs during the six months ended June 30, 2018 and year ended December
11   31, 2017.”
12         70.      In the 2Q18 10-Q, the Company included the below table that, according to
13   Colony Credit, “provides an aging summary of loans and preferred equity held for
14   investment at carrying values before allowance of loan losses, if any (dollars in
15   thousands):”
16

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22
     (highlights added). The Company included similar tables in its quarterly and
23
     annual filings throughout the Class Period.
24
           71.      For the reasons explained above, the Company demonstrably knew as of
25
     May 18, 2018 that the fair value of the Hotel, based on its operating performance, was
26
     not approximately $260 million, but rather was less than approximately $132 million,
27
     and likely far less. As explained above, in November 2018, at the same time the
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                                       21
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 1   Company claimed to be outperforming by 70% the projected income estimates made
 2   prior to January 2018, the Company recorded a $35 million provision for loan losses for
 3   the four loans secured by the Hotel. This statement implies that the Company knew in
 4   January 2018 that the value of the Hotel, valued based on the Hotel’s performance, was
 5   less than approximately $132 million. The Company likewise was fully aware of the
 6   borrowers’ inability to make interest payments, as well as the continued use of the Hotel
 7   as a homeless shelter.
 8         G.        As the Truth Emerges, the Company Takes a $35.1 Million Loss
                     Provision on the Hotel Loans, Valuing the Hotel at $225.1 Million on
 9                   November 9, 2018
10         72.       On November 9, 2018, the Company reported its earnings results as of
11   September 30, 2018, for the third quarter of 2018 (“3Q18”) in its Quarterly Report on
12   SEC Form 10-Q (the “3Q18 10-Q”). Therein, the Company stated that “[d]uring the
13   third quarter of 2018, the Company recorded a $35.1 million provision for loan loss.”
14   According to the Company’s 3Q18 10-Q:
15         Significant developments affecting our business and results of operations
16         for the three months ended September 30, 2018 and through November 8,
           2018 include . . . Recorded [sic] a $35.1 million provision for loan loss on
17         four NY hospitality loans following discussions with the borrower which
18         did not progress as anticipated and led us to explore additional options for a
           potential resolution, including a recapitalization and earlier than expected
19         receipt and sale of collateral.
20
           73.       In its discussion of the status of the Hotel loans in the 3Q18 10-Q, the
21
     Company stated that:
22

23         In March 2018, the borrower on our four NY hospitality loans with an
           unpaid principal balance failed to make its interest payments. These four
24         loans are secured by the same collateral. We placed the loans on
25         non-accrual status and commenced discussions with the borrower to
           resolve the matter.
26
27         [. . .]

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 1
           During the third quarter of 2018, discussions with the borrower did not
           progress as anticipated which has led us to exploring additional options for
 2         resolution. We prepared a weighted average probability analysis of
 3
           potential resolutions, which included a recapitalization and earlier than
           expected receipt and sale of collateral. Based on this analysis, we recorded
 4         a $35.1 million provision for loan loss on the four NY hospitality loans
 5
           during the third quarter of 2018.

 6         74.    As it did in the 1Q18 and 2Q18 10-Qs, the Company described the factors
 7   that it considered to determine whether to note an impairment or allowance for loan
 8   losses in the 3Q18 10-Q: “Loans and preferred equity investments are considered to be
 9   impaired when it is probable that the Company will not be able to collect all amounts
10   due in accordance with contractual terms of the loans and preferred equity investments,
11   including consideration of underlying collateral value.” As it did in the 1Q18 and 2Q18
12   10-Qs, the Company stated in the 3Q18 10-Q that:
13
           On a periodic basis, the Company analyzes the extent and effect of any
14         credit migration from underwriting and the initial investment review
15         associated with the performance of a loan and preferred equity investment
           and/or value of its underlying collateral, financial and operating capability
16         of the borrower or sponsor, as well as amount and status of any senior loan,
17         where applicable. Specifically, operating results of collateral properties
           and any cash reserves are analyzed and used to assess whether cash
18         from operations are sufficient to cover debt service requirements
19         currently and into the future, ability of the borrower to refinance the
           loan, liquidation value of collateral properties, and financial wherewithal
20         of any loan guarantors, as well as the borrower’s competency in
21         managing and operating the collateral properties. Such analysis is
           performed at least quarterly, or more often as needed when
22         impairment indicators are present.
23
           75.    The Company’s 3Q18 10-Q does not state that the Company undertook any
24
     independent analysis of the collateral underlying the four Hotel loans, or that it relied on
25
     a third-party appraisal of the collateral underlying the four Hotel loans, in deciding to
26
     further impair the loans.
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                                       23
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 1         76.    During a November 6, 2018 teleconference to discuss the Company’s 3Q18
 2   earnings results, despite admitting that the Company “recorded a $35 million provision
 3   for loan losses for the four loans secured by [the Hotel],” Defendant Patel attempted to
 4   reassure investors that no further loan loss provisions were likely by stating that:
 5         As New York City hotel room additions are beginning to be absorbed, we
 6         continue to be optimistic on the New York City lodging market recovery
           looking ahead to 2019 and 2020. And the forecasted NOI for this
 7         particular hotel is up approximately 70% from its initial 2018 budget.
 8
           77.    By its own definitions, the Company’s $225.1 million valuation of the
 9
     Hotel in the 3Q18 10-Q represented to investors that the “borrower or sponsor” of the
10
     Hotel loans, together with the Hotel’s “operating results,” generated sufficient revenues
11
     and net incomes from operations (“NOI”) to cover at least $225.1 million of the
12
     outstanding principal balance on the Hotel loans.
13
           78.    In fact, for the reasons explained above, the Company demonstrably knew
14
     as of November 6, 2018 that the fair value of the Hotel, based on its operating
15
     performance, was less than approximately $132 million, and likely far less.            As
16
     explained above, in November 2018, at the same time the Company claimed to be
17
     outperforming by 70% the projected income estimates made prior to January 2018, the
18
     Company recorded a $35 million provision for loan losses for the four loans secured by
19
     the Hotel. This statement implies that the Company knew in January 2018 that the
20
     value of the Hotel, valued based on the Hotel’s performance, was less than
21
     approximately $132 million. The Company likewise was fully aware of the borrowers’
22
     inability to make interest payments, as well as the continued use of the Hotel as a
23
     homeless shelter.
24

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           H.       The Company Takes Another $18.8 Million Loss Provision on the
 1                  Hotel Loans, Valuing the Hotel at $206.3 Million on March 1, 2019
 2         79.      On March 1, 2019, the Company reported its earnings results for the fourth
 3   quarter of 2018 (“4Q18”) in its Annual Report on SEC Form 10-K (the “2018 10-K”).
 4   Therein, the Company stated that:
 5         During the fourth quarter of 2018, the borrower entered into a listing
 6         agreement with a real estate brokerage firm and as a result, we believe the
           sale of the underlying collateral and repayment of the four loans from the
 7         sales proceeds is the most likely outcome. As such, we recorded an
 8         additional $18.8 million of provision for loan loss on the four NY
           hospitality loans in 2018 to reflect the estimated proceeds to be received
 9         from the borrower following the sale.
10
           80.      In the 2018 10-K, the Company included the below table that, according to
11
     Colony Credit, “provides an aging summary of loans and preferred equity held for
12
     investment at carrying values before allowance for loan losses, if any (dollars in
13
     thousands):”
14

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     (highlights added).
22

23         81.      In the 2018 10-K, the Company described the factors that it considered to

24   determine whether to record an impairment or allowance for loan losses in 4Q18:

25   “Loans and preferred equity investments are considered to be impaired when it is

26   probable that the Company will not be able to collect all amounts due in accordance

27   with contractual terms of the loans and preferred equity investments, including

28   consideration of underlying collateral value.”      The Company again stated that it
                                       25
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 1   considered “operating results of collateral properties” “to assess whether cash from
 2   operations are sufficient to cover debt service requirements currently and into the
 3   future.”
 4         82.       The Company’s 2018 10-K does not state that the Company undertook any
 5   independent analysis of the collateral underlying the four Hotel loans, or that it relied on
 6   a third-party appraisal of the collateral underlying the four Hotel loans, in deciding to
 7   further impair the loans.
 8         83.       During a February 28, 2019 teleconference with investors, Defendant
 9   Redington attempted to forestall investors’ concerns, stating that
10         As New York City hotel room additions are beginning to be absorbed, we
11         continue to be optimistic on the New York City lodging market recovery
           and the ability to exit this recent credit impaired asset.
12

13         84.       Defendant Traenkle likewise knowingly misled investors to believe that the
14   risk of further impairments was very low.         In response to an investor’s question
15   concerning the Hotel loans during the February 28, 2019 teleconference with investors,
16   Defendant Traenkle stated:
17         [The Hotel’s] earnings are a little bit lumpy, . . . [s]o, we thought it was in
18         the best interest just to kind of clean up some of the noise around the
           quarter-to-quarter kind of market-to-markets that we’re seeing is just to sell
19         the portfolio [sic]. And, in fact, [the Hotel] is for sale right now. We
20         have a lot of interest. There’s a number of parties that have been in the
           data room. And yeah, we think it’s going to trade at a number that will
21         be acceptable to us. And I think it’s going to be able to kind of repatriate
22         a lot of capital that we’ll be able to redeploy into much higher yielding
           assets. And we’ll put this behind us and we’ll be much better off for it.
23

24         [. . .]
25         Yeah. So, the risks are very low.
26
27

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                                          26
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 1         85.    Defendant Traenkle’s remarks during the February 29, 2019 earnings
 2   teleconference represented that it was “in the best interest” of the Company to “sell the
 3   [Hotel]” because its “earnings [were] a little bit lumpy.”
 4         86.    The borrower, Rockpoint Group, and Colony Credit listed the Hotel for
 5   sale on or about February 28, 2019, at an asking price of $220 million.13
 6         87.    The Company knew as of March 1, 2019 that the Hotel was performing at a
 7   rate that would require a loan loss provision well in excess of $53.9 million and that the
 8   fair value of the Hotel was far less than $206.3 million. For the reasons explained
 9   above, the Company demonstrably knew by January 2018 that the fair value of the
10   Hotel, based on its operating performance, was less than approximately $132 million,
11   and likely far less. As explained above, in November 2018, at the same time the
12   Company claimed to be outperforming by 70% the projected income estimates made
13   prior to January 2018, the Company recorded a $35 million provision for loan losses for
14   the four loans secured by the Hotel. This statement implies that the Company knew as
15   early as January 2018 that the value of the Hotel, valued based on the Hotel’s
16   performance, was less than approximately $132 million. The Company likewise was
17   fully aware of the borrowers’ inability to make interest payments, as well as the
18   continued use of the Hotel as a homeless shelter.
19         88.    On March 7, 2019, one market analyst commented that in “[c]omparing
20   4Q18 losses and impairments with prior company commentary suggests that
21   management was overly optimistic about resolution of its impaired assets.” 14 With
22
     13
23          https://therealdeal.com/2019/02/28/highgate-led-partnership-shopping-midtowns-
     huge-row-hotel-for-
24
     sale/?source=content_type%3Areact%7Cfirst_level_url%3Aarticle%7Csection%3Amai
25   n_content%7Cbutton%3Abody_link
     14
26           https://konekoresearch.com/2019/03/07/colony-credit-management-should-get-it-
     right-in-2019-or-get-
27   out/?source=content_type%3Areact%7Cfirst_level_url%3Aarticle%7Csection%3Amain
28   _content%7Cbutton%3Abody_link.
                                       27
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 1   respect to the Hotel loans, market analysts noted that it was “disappointing that CLNC
 2   took an additional 4Q charge after prior comments about the $258mm loan.” 15
 3   Nevertheless, relying on the Company’s representations that it intended to sell the Hotel
 4   to recover most of the outstanding principal balances, market analysts believed that the
 5   Hotel loans were “a senior loan interest so substantial recovery is certain.”16
 6              I.      As of May 8, 2019, the Company’s Valuation of the Hotel Remained
                        Unchanged
 7
                89.     On May 8, 2019, Defendant Traenkle held a teleconference with investors
 8
     to discuss the Company’s earnings results for the first quarter of 2019 (“1Q19”).
 9
     During that teleconference, Defendant Traenkle stated
10

11
                [W]e remain focused on taking proactive steps with regard to restructuring
                of loans secured by a New York City Hotel. This restructuring is a key part
12              of our overall portfolio rationalization strategy, as these loans remain on
13
                non-accrual status and therefore are not currently contributing to core
                earnings. While this process is ongoing, we do not have further updates
14              to report at this time. However, once this restructuring is completed and
15
                our capital begins generating revenue, we believe our core earnings will
                benefit significantly.
16
                J.      On August 8, 2019, the Company Took a Staggering $104.3 Million
17                      Loan Loss Provision on the Hotel Loans, More Than Half of the
                        Company’s Most Recent Valuation, Valuing the Hotel at $102 Million
18
                90.     On August 8, 2019, the Company reported its earnings results as of June
19
     30, 2019, for the second quarter of 2019 (“2Q19”) in a Quarterly Report filed on SEC
20
     Form 10-Q (the “2Q19 10-Q”). Therein, the Company stated:
21
                During the three months ended June 30, 2019, the Company revised its
22              estimated recovery and recorded an additional $104.3 million of provision
23              for loan loss. The additional provision is based on significant deterioration
                in the NY hospitality market and feedback from the sales process and
24
                reflects the estimated value to be recovered from the borrower following a
25              potential sale.
26
     15
27        Id.
     16
28        Id.
                                               28
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 1              91.   During an August 8, 2019 teleconference to discuss the Company’s 2Q19
 2   earnings results, Defendant Redington stated:
 3              We initially impaired [the Hotel] in the third quarter last year, based on
 4              market pricing estimates provided to the borrower by its brokers.
 5              The borrower launched the sales process for the property earlier this year,
 6
                which was adversely impacted by deteriorating hotel market conditions
                throughout New York City in the second quarter. This resulted in lower
 7              bids from potential buyers than originally anticipated, and therefore during
 8
                the second quarter, we impaired the asset to a revised estimated current
                value.
 9

10              92.   That is, the only a few months after the Company assured investors that the
11   risk of additional loan impairments was “very low,” the Company recorded a loan loss
12   provision of more than half of the most recent valuation of the Hotel loan collateral.
13              93.   The Company attempted to explain this dramatic devaluation as resulting
14   from a significant deterioration of the hotel market and “feedback from the sales
15   process.” Both reasons were misleading. First, no such significant deterioration in the
16   New York City lodging and hospitality market had occurred. To the contrary, the
17   market was quite hospitable to hoteliers, buoyed by the duo of “[s]tronger economic
18   indicators in Q2, coupled with accelerating group demand,” 17 according to a report
19   published by PwC Hospitality Directions US on August 28, 2018. According to that
20   report, “fundamentals remained positive, as consumer confidence continued” 18 during
21   2Q19. Additionally, “Q2 results yielded strong demand for hotels, outpacing increases
22   in supply, as well as the highest Q2 increase in ADR since 2016.” 19                 Further,
23

24
     17
25
              PwC         Hospitality       Directions         US,        https://www.hotel-
     online.com/press_releases/release/pwc-hospitality-directions-u-s-report-updates-
26   lodging-outlook-suggesting/ (Aug. 28, 2018).
     18
27        Id.
     19
28        Id.
                                            29
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 1   “[c]ontinued growth in demand led to a midyear year-to-date occupancy rate of 65.9
 2   percent” across the New York hospitality sector.”20
 3              94.   Second, in stating that the Company was basing its valuation of the Hotel at
 4   approximately $102 million on “feedback from the sales process,” and upon “lower bids
 5   from potential buyers,” the Company suggested that it had received bids on the Hotel
 6   at, or at least somewhere near, $102 million. In fact, as explained below, the Company
 7   had not received a bid or interest anywhere near that amount, as only three months later
 8   it lowered its valuation of the Hotel again by approximately $50 million, reflecting a
 9   total lack of interest from buyers in purchasing the Hotel for approximately $102
10   million.
11              K.    On November 8, 2019, the Company Takes Another $50.0 Million Loss
                      Provision on the Hotel Loans, Valuing the Hotel at $52 Million and
12                    Causing a Final Round of Losses to Investors
13              95.   On November 8, 2019, the Company reported its earnings results as of
14   September 30, 2019, for the third quarter of 2019 (“3Q19”) in a Quarterly Report filed
15   on SEC Form 10-Q (the “3Q19 10-Q”). Therein, the Company stated:
16              During the three and nine months ended September 30, 2019, we recorded
17              an additional provision for loan loss of $50.0 million and $154.3 million,
                respectively, based on significant deterioration in the NY hospitality
18              market, feedback from the sales process and the estimated value to be
19              recovered from the borrower following a potential sale.
20
                96.   With the additional of this final loan loss provision during the Class Period
21
     for the loans collateralized by the Hotel, the Company recorded a staggering total of
22
     approximately $200 million of loan loss provisions for these loans during the Class
23
     Period.
24
                97.   Moreover, the Company’s statement that the Company’s devaluation of the
25
     Hotel and corresponding loan loss provision were based on deterioration in the NY
26
     hospitality market was again inaccurate. According to a January 21, 2020 New York
27
     20
28        Id.
                                           30
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 1   Real Estate Journal article, throughout all of 2019,“New York [was] the highest in the
 2   country when it comes to occupancy levels, averaging 85% for 2019.”21 According to
 3   that article, the Average Daily Rate (“ADR”) for a room in Manhattan was $275 per
 4   night. The Company’s disclosures of a string of loan loss provisions amounted to a
 5   series of disclosures that the Company knowingly or with severe recklessness had
 6   overvalued the Hotel by over 400%.
 7            L.    The Company’s Repeated Overvaluing of the Row Hotel NYC Was
                    Material to Investors
 8
              98.   On August 8, 2019, the Company published a “Supplemental Financial
 9
     Report Second Quarter 2019,” in which it recorded an $0.84 net loss per share,
10
     attributable in substantial part to the $104.3 million loan loss provision across the four
11
     Hotel loans.      One market analyst explained that the Company’s $104.3 million
12
     impairment at the end of 2Q19 affected the financial valuation of the Company by
13
     “about $1/share.”22
14
              99.   Just as importantly, investors wanted to know at all relevant times that the
15
     Company had misvalued collateral on some of the Company’s largest loans by five
16
     times their true value, not only because such an overvaluation affected the formal
17
     valuation of the Company, but also because the overvaluation demonstrated that the
18
     Company either had knowingly misrepresented the true value of the four Hotel loans, or
19
     had been so severely reckless in its valuation of the four Hotel loans.
20
              100. As one investor noted, the Company’s decision to take “another large
21
     write-down” on the Hotel loans after taking impairments in 3Q18 and 4Q18
22
     “undermined any remaining basis for investor confidence in [Defendant] Traenkle” or in
23
     the Company.23 Indeed, “the subsequent drop in CLNC shares” also suggested to market
24
     21
25
          https://nyrej.com/hospitality-state-of-new-york-city-hotel-market-by-anudeep-gosal
     22
       Seeking Alpha, Colony Credit: Management Failed So The Company Should Be Sold
26
     (Aug. 20, 2019).
27   23 Seeking Alpha, Colony Credit: Management Failed So The Company Should Be Sold
28   (Aug. 20, 2019).
                                          31
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 1   analysts “that investors ha[d] given up on the [C]ompany” and its leadership.24 At all
 2   relevant times, investors cared whether Company management act fraudulently or with
 3   severe recklessness in managing key assets.
 4            101. Indeed, as alleged in more detail below, the Company’s share price
 5   dropped significantly upon the revelation of each loss provision related to the four Hotel
 6   loans.
 7   V.       DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND
              OMISSIONS
 8
              A.   Defendants’ Materially False and Misleading Statements and
 9                 Omissions in 2018
10                 1.    December 7, 2017 & February 1, 2018: Registration Statement
11            102. On December 5, 2017, the Company filed its final amendment to the
12   Registration Statement with the SEC on Form S-4/A (the “Form S-4/A”), which forms
13   part of the Registration Statement.     On December 6, 2017, the Company filed a
14   prospectus (the “Prospectus”) pursuant to SEC Rule 424(b)(3), 17 C.F.R. §
15   230.424(b)(3). The Form S-4/A and the Prospectus were declared effective by the SEC
16   on December 6, 2017. On January 31, 2018, the Company filed a Post-Effective
17   Amendment No. 1 to Form S-4 Registration Statement (the “Amendment”), which
18   forms part of the Registration Statement. The Amendment was declared effective by
19   the SEC on February 1, 2018.
20            103. In the Registration Statement and Prospectus, Defendants omitted known
21   trends about the performance of the Hotel that directly impacted its valuation and
22   significantly increased the risk that the Company would have to take substantial loss
23   impairments on the loans the Hotel collateralized. In particular, the Defendants omitted
24   to state that at the beginning of 2018, the Hotel had a projected annual NOI that, even
25   with a 70% improvement, would result in a fair valuation of the Hotel that would
26   require the Company to record material provisions for loan losses.
27   24
       Seeking Alpha, Colony Credit: Management Failed So The Company Should Be Sold
28   (Aug. 20, 2019).
                                         32
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 1         104. In the Registration Statement and Prospectus, the Company stated:
 2         It was determined that the current yields for NorthStar I’s and NorthStar
 3         II’s loans receivable approximated current market yields, and therefore fair
           value for the loans receivable was deemed to equal each loan’s outstanding
 4         principal amount, plus the undiscounted value of any contractual exit fees
 5         associated with the loan.
 6
           105. The statements in ¶ 104 were materially false and/or misleading because
 7
     the fair value of the Hotel was materially less than $260 million (i.e., the outstanding
 8
     principal amount on the loans collateralized buy the Hotel), so the fair value for the
 9
     loans receivable was not equal to the outstanding principal mount of those loans.
10
           106. In the Registration Statement and Prospectus, the Company also stated:
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           107. The statements in ¶ 106 were materially false and/or misleading because
24
     the fair value of the Hotel was materially less than $260 million, and the Company’s
25
     valuation of the loans collateralized by the Hotel were materially overstated, so the
26
     Company’s valuation of its total assets was likewise overstated.
27

28
                                       33
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                  2.    May 15, 2018: 1Q18 10-Q
 1
           108. On May 15, 2018, the Company filed a Quarterly Report on SEC Form
 2
     10-Q (the “1Q18 10-Q”) for the first quarter of 2018 (“1Q18”), ending on March 31,
 3
     2018. In the 1Q18 10-Q, the Company stated:
 4

 5
           In March 2018, the borrower on the Company’s $260.2 million NY
           hospitality loan failed to make its interest payment. The Company has
 6         placed the loan on non-accrual status and has commenced discussions with
 7
           the borrower to resolve the matter. No provision for loan loss was
           recorded during the three months ended March 31, 2018 as the
 8         Company believes sufficient collateral value exists to cover the
 9
           outstanding loan balances.

10         109. The statements in ¶ 108 were materially false and/or misleading because:
11   (i) the fair value of the Hotel was materially less than $260 million, so the value of the
12   collateral was insufficient to cover the outstanding balances on those loans (ii)
13   Defendants knew that the value of the collateral was insufficient to cover the
14   outstanding balances on those loans; and (iii) Defendants had access to information
15   contradicting any belief, and otherwise lacked a reasonable basis to believe, that the
16   collateral was sufficient to cover the outstanding balances on those loans.
17         110. Also in the 1Q18 10-Q, the Company stated:
18
           Loans are considered to be impaired when it is probable that the Company
19         will not be able to collect all amounts due in accordance with contractual
20         terms of the loans, including consideration of underlying collateral value.
           Allowance for loan losses represents the estimated probable credit losses
21         inherent in loans held for investment at balance sheet date.
22
           111. The statements in ¶ 110 were materially false and/or misleading because,
23
     read in tandem with the statements in ¶ 108, they imply that the Company expected to
24
     recover the amounts due on the four Hotel loans, when in fact the Company knew that
25
     (i) the assets securing the four Hotel loans were not worth $260.2 million, but instead
26
     were worth no more than $132 million, (ii) the collateral value of the assets securing the
27
     four Hotel loans was insufficient to cover the outstanding balances on those loans, and
28
                                       34
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 1   (iii) the borrower on the four Hotel loans had failed to make principal payments since
 2   April 2013.
 3                 3.   August 9, 2018: 2Q18 10-Q
 4         112. On August 9, 2018, the Company filed a Quarterly Report on SEC Form
 5   10-Q (the “2Q18 10-Q”) for the second quarter of 2018 (“2Q18”), ending on June 30,
 6   2018. In the 2Q18 10-Q, the Company stated
 7         In March 2018, the borrower on the Company’s four NY hospitality loans
 8         with an unpaid principal balance of $260.2 million failed to make its
           interest payment. The Company has placed the loans on non-accrual
 9         status and has commenced discussions with the borrower to resolve the
10         matter. Interest income is recognized on a cash basis. No provision for
           loan loss was recorded during the three and six months ended June 30,
11         2018 as the Company believes sufficient collateral value exists to cover
12         the outstanding loan balances. During the three months ended June 30,
           2018, the Company received and recognized $1.0 million in interest
13         income on the loans.
14
           113. The statements in ¶ 112 were materially false and/or misleading because:
15
     (i) the fair value of the Hotel was materially less than $260 million, so the value of the
16
     collateral was insufficient to cover the outstanding balances on those loans (ii)
17
     Defendants knew that the value of the collateral was insufficient to cover the
18
     outstanding balances on those loans; and (iii) Defendants had access to information
19
     contradicting any belief, and otherwise lacked a reasonable basis to believe, that the
20
     collateral was sufficient to cover the outstanding balances on those loans.
21
           114. Also in the 2Q18 10-Q, the Company stated
22

23         Loans and preferred equity investments are considered to be impaired when
           it is probable that the Company will not be able to collect all amounts due
24
           in accordance with contractual terms of the loans and preferred equity
25         investments, including consideration of underlying collateral value.
           Allowance for loan losses represents the estimated probable credit losses
26
           inherent in loans held for investment at balance sheet date.
27

28
                                       35
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 1           115. The statements in ¶ 114 were materially false and/or misleading because,
 2   read in tandem with the statements in ¶ 112, they imply that the Company expected to
 3   recover the amounts due on the four Hotel loans, when in fact the Company knew that
 4   (i) the assets securing the four Hotel loans were not worth $260.2 million, but were
 5   instead worth materially less, (ii) the collateral value of the assets securing the four
 6   Hotel loans was insufficient to cover the outstanding balances on those loans, and (iii)
 7   the borrower on the four Hotel loans had failed to make principal payments since April
 8   2013.
 9           116. Also in the 2Q18 10-Q, the Company stated
10           At June 30, 2018, 90 days or more past due loans includes four loans to the
11           same borrower with combined carrying value of $261.1 million on
             non-accrual status. All other loans . . . remain current on interest payments.
12

13           117. The statements in ¶ 116 were materially false and/or misleading because (i)
14   the Company valued the assets securing the four Hotel loans at $261.1 million, when the
15   assets were worth materially less and (ii) the collateral value of the assets securing the
16   four Hotel loans was insufficient to cover the outstanding balances on those loans.
17                 4.     August 7, 2018: 2Q18 Earnings Call
18           118. On August 7, 2018, Defendants Patel and Traenkle held a teleconference
19   with investors to report the Company’s 2Q18 earnings results (the “2Q18 Earnings
20   Call”). On that call, Defendant Patel stated that “[the] $261 million unlevered first
21   mortgage and mezzanine investment [is] secured by a New York City hotel.”
22           119. The statements in ¶ 118 were materially false and/or misleading because
23   the Company valued the assets securing the four Hotel loans at $261 million, when the
24   assets were worth no more than $132 million.
25                 5.     November 9, 2018: 3Q18 10-Q
26           120. On November 9, 2018, the Company filed a Quarterly Report on SEC
27   Form 10-Q (the “3Q18 10-Q”) for the third quarter of 2018 (“2Q18”), ending on
28   September 30, 2018. In the 3Q18 10-Q, the Company stated that:
                                         36
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 1
           In March 2018, the borrower on our four NY hospitality loans with an
           unpaid principal balance failed to make its interest payments. These four
 2         loans are secured by the same collateral. We placed the loans on
 3
           non-accrual status and commenced discussions with the borrower to
           resolve the matter.
 4

 5         [. . .]

 6         During the third quarter of 2018, discussions with the borrower did not
           progress as anticipated which has led us to exploring additional options for
 7         resolution. We prepared a weighted average probability analysis of
 8         potential resolutions, which included a recapitalization and earlier than
           expected receipt and sale of collateral. Based on this analysis, we recorded
 9         a $35.1 million provision for loan loss on the four NY hospitality loans
10         during the third quarter of 2018.
11
           121. The statements in ¶ 120 were materially false and/or misleading because (i)
12
     the Company valued the assets securing the four Hotel loans at $225.1 million, when the
13
     assets were worth no more than $132 million; (ii) the collateral value of the assets
14
     securing the four Hotel loans was insufficient to cover the outstanding balances on those
15
     loans; and (iii) the Company’s $35.1 million loan loss provision was actually based on
16
     market pricing estimates received by the borrower from various real estate listing
17
     brokers.
18
           122. Also in the 3Q18 10-Q, the Company stated:
19
           Loans and preferred equity investments are considered to be impaired when
20         it is probable that the Company will not be able to collect all amounts due
21         in accordance with contractual terms of the loans and preferred equity
           investments, including consideration of underlying collateral value.
22         Allowance for loan losses represents the estimated probable credit losses
23         inherent in loans held for investment at balance sheet date.
24
           123. The statements in ¶ 122 were materially false and/or misleading because,
25
     read in tandem with the statements in ¶ 120, they imply that the Company expected to
26
     recover the $225.1 million on the four Hotel loans, when in fact the Company knew that
27
     (i) the assets securing the four Hotel loans were not worth $225.1 million, but instead
28
                                          37
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 1   were worth no more than $132 million; and (ii) the Company’s $35.1 million loan loss
 2   provision was actually based on market pricing estimates received by the borrower from
 3   various real estate listing brokers.
 4         124. Also in the 3Q18 10-Q, the Company stated:
 5         At September 30, 2018, 90 days or more past due loans includes four loans
 6         to the same borrower with combined carrying value before allowance for
           loan losses of $261.1 million on non-accrual status.           All other
 7         loans . . . remain current on interest payments.
 8
           125. The statements in ¶ 124 were materially false and/or misleading because (i)
 9
     the Company valued the assets securing the four Hotel loans at $261.1 million before
10
     loan losses, when the assets were worth no more than $132 million, and (ii) the
11
     collateral value of the assets securing the four Hotel loans was insufficient to cover the
12
     outstanding balances on those loans.
13
           126. Additionally, the Company stated in the 3Q18 10-Q that:
14

15         On a periodic basis, the Company analyzes the extent and effect of any
           credit migration from underwriting and the initial investment review
16         associated with the performance of a loan and preferred equity investment
17         and/or value of its underlying collateral, financial and operating
           capability of the borrower or sponsor, as well as amount and status of any
18         senior loan, where applicable. Specifically, operating results of collateral
19         properties and any cash reserves are analyzed and used to assess
           whether cash from operations are sufficient to cover debt service
20
           requirements currently and into the future, ability of the borrower to
21         refinance the loan or preferred equity investment, liquidation value of
           collateral properties, and financial wherewithal of any loan guarantors, as
22
           well as the borrower’s competency in managing and operating the
23         collateral properties. Such analysis is performed at least quarterly, or
           more often as needed when impairment indicators are present.
24

25         127. The statements in ¶ 126 were materially false and/or misleading because
26   the Company failed to state that (i) the value of the collateral securing the four Hotel
27   loans did not support a valuation of $225.1 million, (ii) the borrower on the four Hotel
28   loans had failed to make principal payments since April 2013, (iii) the operations of the
                                        38
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 1   Hotel were impaired beginning in 2017 because the assets were being used, in part, for
 2   social service programming and homeless sheltering purposes, and not for lodging or
 3   hospitality services, and would continue to be so used through at least 2023; and (iv) the
 4   Company did not seek or rely upon an independent appraisal of the collateral securing
 5   the four Hotel loans to substantiate a valuation of $225.1 million.            Instead, the
 6   Company’s $35.1 million loan loss provision was actually based on market pricing
 7   estimates received by the borrower from various real estate listing brokers.
 8                 6.    November 6, 2018: 3Q18 Earnings Call
 9           128. On November 6, 2018, Defendants Patel and Traenkle held a
10   teleconference with investors to report the Company’s 3Q18 earnings results (the “3Q18
11   Earnings Call”). On that call, Defendant Patel stated that:
12           [W]e are working through the restructuring of four loans secured by a New
13           York City hotel, which is on nonaccrual status[.]
14                                           * * *
15           As New York City hotel room additions are beginning to be absorbed, we
             continue to be optimistic on the New York City lodging market recovery
16
             looking ahead to 2019 and 2020. And the forecasted NOI for this
17           particular hotel is up approximately 70% from its initial 2018 budget.
18
             129. The statements in ¶ 128 were materially false and/or misleading because (i)
19
     oversupply issues did not impact the New York City lodging and hospitality industry
20
     adversely during 1Q18, 2Q18, or 3Q18; and (ii) the Company failed to disclose that the
21
     operations of the Hotel were impaired beginning in 2017 because the assets were being
22
     used, in part, for social service programming and homeless sheltering purposes, and not
23
     for lodging or hospitality services, and would continue to be so used through at least
24
     2023.
25

26
27

28
                                        39
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           B.     Defendants’ Materially False and Misleading Statements in 2019
 1
                  1.    March 1, 2019: 2018 10-K
 2
           130. On March 1, 2019, the Company filed an Annual Report on SEC Form
 3
     10-K (the “2018 10-K”) in which it reported its earnings results for fiscal year 2018 and
 4
     for the fourth quarter of 2018 (“4Q18”), ending on December 31, 2018.
 5
           131. In the 2018 10-K, Defendants omitted known trends about the performance
 6
     of the Hotel that directly impacted its valuation and significantly increased the risk that
 7
     the Company would have to take substantial loss impairments on the loans the Hotel
 8
     collateralized. In particular, the Defendants omitted to state that as of March 1, 2019,
 9
     the Hotel had a value of less than $132 million based on its 2018 operating income.
10
           132. In the 2018 10-K, the Company stated that:
11         In March 2018, the borrower on our four NY hospitality loans failed to
12         make all required interest payments. These four loans are secured by the
           same collateral. We placed the loans on non-accrual status and
13         commenced discussions with the borrower to resolve the matter. Interest
14         income was recognized on a cash basis. During the year, we recognized
           $3.4 million in interest income on the loans.
15

16
           During the third quarter of 2018, discussions with the borrower did not
           progress as anticipated which led us to exploring additional options for
17         resolution. We prepared a weighted average probability analysis of
18         potential resolutions, which included a recapitalization and earlier than
           expected receipt and sale of collateral. Based on this analysis, we recorded
19         a $35.1 million provision for loan loss on the four NY hospitality loans
20         during the third quarter of 2018.

21         During the fourth quarter of 2018, the borrower entered into a listing
           agreement with a real estate brokerage firm and as a result, we believe
22
           sale of the underlying collateral and repayment of the four loans from
23         the sales proceeds is the most likely outcome. As such, we recorded an
           additional $18.8 million of provision for loan loss on the four NY
24
           hospitality loans in 2018 to reflect the estimated proceeds to be
25         received from the borrower following the sale.
26
           133. The statements in ¶ 132 were materially false and/or misleading because (i)
27
     the Company valued the assets securing the four Hotel loans at $206.3 million, when the
28
                                       40
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 1   assets were worth no more than $132 million; (ii) the collateral value of the assets
 2   securing the four Hotel loans was insufficient to cover the outstanding balances on those
 3   loans; (iii) the Company’s $18.8 million loan loss provision in 4Q18 was actually based
 4   on market pricing estimates received by the borrower from real estate brokers rather
 5   than an independent appraisal.
 6         134. Also in the 2018 10-K, the Company stated:
 7         Loans and preferred equity investments are considered to be impaired when
 8         it is probable that the Company will not be able to collect all amounts due
           in accordance with contractual terms of the loans and preferred equity
 9         investments, including consideration of underlying collateral value.
10         Allowance for loan losses represents the estimated probable credit losses
           inherent in loans and preferred equity held for investment at balance sheet
11         date.
12
           135. The statements in ¶ 134 were materially false and/or misleading because,
13
     read in tandem with the statements in ¶ 132, they imply that the Company expected to
14
     recover at least $206.3 million on the four Hotel loans, when in fact the Company knew
15
     that the assets securing the four Hotel loans were not worth $206.3 million, but instead
16
     were worth materially less.
17
           136. Also in the 2018 10-K, the Company stated:
18

19         At December 31, 2018, 90 days or more past due loans includes four loans
           to the same borrower and secured by the same collateral with combined
20         carrying value before allowance for loan losses of $258.1 million on
21         non-accrual status. All other loans . . . remain current on interest
           payments.
22

23                                           * * *

24         At December 31, 2018, 90 days or more past due loans includes four loans
           to the same borrower and secured by the same collateral with a combined
25
           carrying value before allowance for loan losses of $137.1 million. The
26         Company foreclosed on these four loans in January 2019. All other
           loans . . . remain current on interest payments.
27

28
                                       41
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 1         137. The statements in ¶ 136 were materially false and/or misleading because (i)
 2   the Company valued the assets securing the four Hotel loans at $258.1 million before
 3   loan losses, when the assets were worth no more than $132 million and (ii) the collateral
 4   value of the assets securing the four Hotel loans was insufficient to cover the
 5   outstanding balances on those loans.
 6         138. On February 28, 2019, Defendants Redington and Traenkle held a
 7   teleconference with investors to report the Company’s 4Q18 earnings results (the “4Q18
 8   Earnings Call”). During the 4Q18 Earnings Call, in response to a market analyst’s
 9   questions concerning the Hotel, Defendant Traenkle stated
10         [The Hotel’s] earnings are a little bit lumpy, . . . [s]o, we thought it was in
11         the best interest just to kind of clean up some of the noise around the
           quarter-to-quarter kind of market-to-markets that we’re seeing is just to sell
12         the portfolio [sic]. And, in fact, [the Hotel] is for sale right now. We
13         have a lot of interest. There’s a number of parties that have been in the
           data room. And yeah, we think it’s going to trade at a number that will
14         be acceptable to us. And I think it’s going to be able to kind of repatriate
15         a lot of capital that we’ll be able to redeploy into much higher yielding
           assets. And we’ll put this behind us and we’ll be much better off for it.
16

17         [. . .]
           Yeah. So, the risks are very low.
18

19         139. The statements in ¶ 138 were materially false and/or misleading because (i)
20   they implied that Defendants had a reasonable basis to believe that the Hotel would
21   trade at or around $206 million, when in fact Defendants lacked any such reasonable
22   basis; (ii) they suggested that buyers had made bids for the Hotel at or around $206
23   million when they had not; (iii) they misstated the risk that additional impairments could
24   occur, as the Company recorded an additional loan loss provision of over $100 million
25   less than three months later.
26                   2.   August 8, 2019: 2Q19 10-Q
27         140. On August 8, 2019, the Company filed a Quarterly Report on SEC Form
28   10-Q (the “2Q19 10-Q”) in which it reported its earnings results for the second quarter
                                       42
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 1   of 2019 (“2Q19”), ending on June 30, 2019. In the 2Q19 10-Q, the Company stated
 2   that:
 3           In March 2018, the borrower on our four NY hospitality loans failed to
 4           make all required interest payments. These four loans are secured by the
             same collateral. The Company believes ultimate sale of the underlying
 5           collateral and repayment of the loans from the sales proceeds is the most
 6           likely outcome. During 2018, the Company recorded $53.8 million of
             provision for loan losses on the four NY hospitality loans to reflect the
 7           estimated value to be recovered from the borrower following a sale.
 8           During the three months ended June 30, 2019, the Company revised its
             estimated recovery and recorded an additional $104.3 million of
 9           provision for loan loss. The additional provision is based on significant
10           deterioration in the NY hospitality market and feedback from the sales
             process and reflects the estimated value to be recovered from the
11
             borrower following a potential sale.
12
             141. The statements in ¶ 140 were materially false and/or misleading because
13
     (i) the Company valued the assets securing the four Hotel loans at $102 million, when
14
     the assets were worth materially less than $102 million; and (ii) the New York
15
     hospitality market did not deteriorate in 1Q19 or in 2Q19.
16
             142. Also in the 2Q19 10-Q, the Company stated:
17

18           Loans and preferred equity investments are considered to be impaired when
             it is probable that the Company will not be able to collect all amounts due
19
             in accordance with contractual terms of the loans and preferred equity
20           investments, including consideration of underlying collateral value.
             Allowance for loan losses represents the estimated probable credit losses
21
             inherent in loans and preferred equity held for investment at balance sheet
22           date.
23
             143. The statements in ¶ 142 were materially false and/or misleading because,
24
     read in tandem with the statements in ¶ 140, they imply that the Company expected to
25
     recover at least $102 million on the four Hotel loans, when the Company knew that the
26
     assets securing the four Hotel loans were worth materially less than $102 million.
27
             144. Also in the 2Q19 10-Q, the Company stated:
28
                                        43
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 1
           At June 30, 2019, 90 days or more past due loans includes four loans to the
           same borrower and secured by the same collateral with combined carrying
 2         values before allowance for loan losses of $258.1 million on non-accrual
 3
           status. All other loans . . . remain current on interest payments.

 4         145. The statements in ¶ 144 were materially false and/or misleading because (i)
 5   the Company valued the assets securing the four Hotel loans at $102 million before loan
 6   losses, when the assets were worth materially less than $102 million and (ii) the
 7   collateral value of the assets securing the four Hotel loans was insufficient to cover the
 8   outstanding balances on those loans.
 9
                  3.    August 8, 2019: 2Q19 Earnings Call
10         146. On August 8, 2019, Defendants Redington and Traenkle held a
11   teleconference with investors to report the Company’s 2Q19 earnings results (the “2Q19
12   Earnings Call”). On that call, with specific respect to the four Hotel loans, Defendant
13   Redington stated that:
14
           We initially impaired [the Hotel] in the third quarter last year, based on
15         market pricing estimates provided to the borrower by its brokers.
16         The borrower launched the sales process for the property earlier this
17         year, which was adversely impacted by deteriorating hotel market
           conditions throughout New York City in the second quarter. This
18         resulted in lower bids from potential buyers than originally anticipated, and
19         therefore during the second quarter, we impaired the asset to a revised
           estimated current value. The borrower is monitoring market conditions
20
           and we will share our progress with you in the near future.
21
           147. The statements in ¶ 146 were materially false and/or misleading because
22
     the New York City hotel market was among the strongest in the country in 2Q19.
23
           148. In direct response to an investor’s question concerning the basis of the
24
     Company’s representation that the New York City hotel market conditions deteriorated
25
     in 2Q19, Defendant Redington stated that:
26
27         There are a number of different factors impacting the New York market. I
           think most of it we see is actually foreign tourism being down that has
28
                                       44
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 1
           adversely impacted the entire New York market and in particular this
           property that there are some other factors like you mentioned that the
 2         apartment aspect but we’re really seeing it probably most related to the
 3
           overall inbound market from Europe and from the UK.

 4         149. The statements in ¶ 148 were materially false and/or misleading because
 5   the New York City hotel market was among the strongest in the country in 2Q19.
 6
     VI.   LOSS CAUSATION
 7
                  1.       November 6, 2018
 8         150. On November 6, 2018, Colony Credit held a teleconference with investors
 9   during which it discussed its quarterly results for the third quarter of 2018. During that
10   teleconference, Colony Credit reported loan loss provisions totally $35.1 million on the
11   four Hotel loans.
12         151. On this news, the price of Colony Credit’s shares fell by $1.02 per share, to
13   close at $16.97 per share on November 6, 2018.
14
                  2.       March 1, 2019
15         152. On March 1, 2019, Colony Credit filed its annual report for 2018, in which
16   it noted an additional $18.8 million provision for loan losses on the Hotel loans during
17   the fourth quarter of 2018.
18         153. On this news, the price of Colony Credit’s shares fell by $0.94 per share, to
19   close at $16.49 per share on March 1, 2019.
20
                  3.       August 9-12, 2019
21         154. On August 9, 2019, Colony Credit reported its quarterly results for the
22   second quarter of 2019, in which it reported a $104.3 million provision for loan losses
23   on the Hotel loans.
24         155. On this news, the price of Colony Credit’s shares fell by $2.00 per share, or
25   more than 12%, over two consecutive trading sessions, to close at $14.05 per share on
26   August 12, 2019.
27

28
                                       45
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                  4.      November 8-11, 2019
 1
           156. On November 8, 2019, Colony Credit announced that during the third
 2
     quarter of 2019, the Company recorded a $50.0 million provision for loan loss related to
 3
     the four Hotel loans “based on significant deterioration in the NY hospitality market,
 4
     feedback from the sales process and the estimated value to be recovered from the
 5
     borrower following a potential sale.”
 6
           157. On this news, the price of Colony Credit’s shares fell by $2.99 per share
 7
     over two consecutive trading days, or nearly 21%, to close at $11.75 per share on
 8
     November 8, 2019 and $11.29 per share on November 11, 2019.
 9
                       VII.   ADDITIONAL SCIENTER ALLEGATIONS
10
           A.     Defendant Traenkle Told Investors that He Investigated the
11                Company’s Portfolio Thoroughly
12         158. On February 28, 2019, during an earnings teleconference with investors, an
13   investor asked Defendant Traenkle whether the Company foresaw any further
14   write-downs on the four Hotel loans. Defendant Traenkle replied, “[T]he risks are very
15   low. We’ve gone through the portfolio extensively kind of asset by asset, loan by loan.”
16   By these statements, Defendant Traenkle admitted that he had investigated
17   “extensively” the Company’s valuation of the Hotel, so that he knew or was severely
18   reckless in disregarding the fact that the Hotel was severely overvalued.
19         B.     The Company Knew Of The Existence Of The DHS Safe Haven Social
                  Services Site At The Hotel Since Before The Merger, But Never
20                Disclosed Its Existence Or Effect On The Company’s Expected NOI.
21         159. As explained in ¶¶ 43–51, Defendants knew that the Hotel’s NOI did not
22   justify a valuation of $260 million as of February 1, 2018 because the arrival of the
23   DHS Safe Haven social services site at the Hotel resulted in an immediate drop in NOI
24   from rents that would last through at least 2023.
25         C.     Defendant Patel Resigned On The Same Date that the Company
                  Recorded the First Impairment
26
           160. On November 9, 2018, the Company announced Defendant Patel’s
27
     immediate resignation “from all positions he held with [the Company] and its
28
                                       46
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 1   subsidiaries, including Mr. Patel’s position as Chief Financial Officer and Treasurer of
 2   the Company, in order to pursue other opportunities.”25
 3                         VIII.    CLASS ACTION ALLEGATIONS
 4            161. Plaintiffs bring this action as a class action pursuant to Federal Rule of
 5   Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who
 6   purchased or otherwise acquired Colony Credit securities in the United States during the
 7   Class Period and who were damaged upon the revelation of the alleged corrective
 8   disclosures (the “Class”).
 9            162. The members of the Class are so numerous that joinder of all members is
10   impracticable. Throughout the Class Period, Colony Credit securities were actively
11   traded on the New York Stock Exchange. While the exact number of Class Members is
12   unknown to Plaintiffs at this time and can be ascertained only through appropriate
13   discovery, Plaintiffs believe that there are hundreds or thousands of members in the
14   proposed Class. Record owners and other members of the Class may be identified from
15   records maintained by Colony Credit, its transfer agent, or its domestic depositary, and
16   may be notified of the pendency of this action by mail, using the form of notice similar
17   to that customarily used in securities class actions.
18            163. Plaintiffs’ claims are typical of the claims of the members of the Class, as
19   all members of the Class are similarly affected by Defendants’ wrongful conduct in
20   violation of federal law that is complained of herein.
21            164. Plaintiffs will fairly and adequately protect the interests of the members of
22   the Class and has retained counsel competent and experienced in class actions and
23   securities litigation. Plaintiffs have no interests antagonistic to or in conflict with those
24   of the Class.
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28        Colony Credit Real Estate, Inc., SEC Form 8-K (Nov. 9, 2018).
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 1         165. Common questions of law and fact exist as to all members of the Class and
 2   predominate over any questions solely affecting individual members of the Class.
 3   Among the questions of law and fact common to the Class are:
 4                (a)     whether applicable securities laws were violated by Defendants’ acts
 5   as alleged herein;
 6                (b)     whether statements made by Defendants to the investing public
 7   during the Class Period omitted and/or misrepresented material facts about the business,
 8   operations, and prospects of Colony Credit;
 9                (c)     whether the Individual Defendants caused Colony Credit to issue
10   false and misleading statements during the Class Period;
11                (d)     whether Defendants acted knowingly or recklessly in issuing false
12   and misleading statements; and
13                (e)     whether the members of the Class have sustained damages and, if so,
14   what the proper measure of damages is.
15         166. A class action is superior to all other available methods for the fair and
16   efficient adjudication of this controversy since joinder of all members is impracticable.
17   Furthermore, as the damages suffered by individual members of the Class may be
18   relatively small, the expense and burden of individual litigation make it impossible for
19   members of the Class individually to redress the wrongs done to them. There will be no
20   difficulty in the management of this action as a class action.
21         167. Plaintiffs will rely, in part, upon the presumption of reliance established by
22   the fraud-on-the-market doctrine.
23         168. The markets for Colony Credit’s securities were open, well-developed, and
24   efficient at all relevant times. As a result of the materially false and/or misleading
25   statements and/or failures to disclose, Colony Credit’s securities traded at artificially
26   inflated prices during the Class Period.      On September 21, 2018 the Company’s
27   securities on the New York Stock Exchange closed at a Class Period high of $23.00.
28   Plaintiffs and other members of the Class purchased or otherwise acquired the
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 1   Company’s securities relying upon the integrity of the market price of Colony Credit’s
 2   securities and market information relating to Colony Credit and have been damaged
 3   thereby.
 4         169. During the Class Period, the artificial inflation of Colony Credit’s
 5   securities was caused by the material misrepresentations and/or omissions particularized
 6   in this Amended Complaint, causing the damages sustained by Plaintiffs and other
 7   members of the Class. As described herein, during the Class Period, Defendants made
 8   or caused to be made a series of materially false and/or misleading statements about
 9   Colony Credit’s business, prospects, and operations.      These material misstatements
10   and/or omissions created an unrealistically positive assessment of Colony Credit and its
11   business, operations, and prospects, thus causing the price of the Company’s securities
12   to be artificially inflated and maintained at artificially inflated levels at all relevant
13   times, and when disclosed, negatively affected the value of the Company’s shares.
14   Defendants’ materially false and/or misleading statements during the Class Period
15   induced and resulted in purchases, by Plaintiffs and members of the Class, of the
16   Company’s securities at such artificially inflated prices, and each of them has been
17   damaged as a result.
18         170. At all relevant times, the markets for Colony Credit’s securities were
19   efficient markets for the following reasons, among others:
20                 (a)   Colony Credit’s securities met the requirements for listing, and were
21   listed and actively traded, on the New York Stock Exchange, a highly efficient and
22   automated market;
23                 (b)   As a regulated issuer, Colony Credit filed periodic public reports
24   with the SEC and/or the New York Stock Exchange;
25                 (c)   Colony Credit regularly communicated with public investors via
26   established    market   communication      mechanisms,       including   through   regular
27   dissemination of press releases on the national circuits of major newswire services and
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 1   through other wide-ranging public disclosures, such as communications with the
 2   financial press and other similar reporting services; and/or
 3                (d)    Colony Credit was followed by securities analysts employed by
 4   brokerage firms who wrote reports about the Company, and these reports were
 5   distributed to the sales forces and certain customers of their respective brokerage firms.
 6   Each of these reports was publicly available and entered the public marketplace.
 7         171. As a result of the foregoing, the market for Colony Credit’s securities
 8   promptly digested current information regarding Colony Credit from all publicly
 9   available sources and reflected such information in the price of Colony Credit’s
10   securities. Under these circumstances, all purchasers of Colony Credit’s securities
11   during the Class Period suffered similar injury through their purchase of Colony
12   Credit’s securities at artificially inflated prices, and a presumption of reliance applies.
13         172. A Class-wide presumption of reliance is also appropriate in this action
14   under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States,
15   406 U.S. 128 (1972), because the Class’s claims center, in large part, upon Defendants’
16   material omissions.     Because this action involves Defendants’ failure to disclose
17   material adverse information regarding the Company’s business operations and financial
18   prospects—information that Defendants were obligated by law to disclose—positive
19   proof of reliance is not a prerequisite to recovery.
20 IX.     NO SAFE HARBOR
21         173. The statutory safe harbor provided for forward-looking statements under
22   certain circumstances does not apply to any of the false statements pleaded in this
23   Amended Complaint. The statements alleged to be false and misleading herein all relate
24   to then-existing facts and conditions.        Additionally, to the extent certain of the
25   statements alleged to be false may be characterized as forward looking, they were not
26   identified specifically as “forward-looking statements” when made, and there were no
27   meaningful cautionary statements identifying important factors that could cause actual
28   results to differ materially from those in the purportedly forward-looking statements.
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 1         174. In the alternative, to the extent that the statutory safe harbor is determined
 2   to apply to any forward-looking statements pleaded herein, Defendants are liable for
 3   those forward-looking statements because at the time each such statement was made, the
 4   speaker had actual knowledge, or recklessly disregarded the risk, that the forward-
 5   looking statement was materially false or misleading, and/or the forward-looking
 6   statement was authorized or approved by an executive officer of Colony Credit who
 7   knew, or recklessly disregarded the risk, that the statement was false when made.
 8                                      X.     COUNT ONE
 9           For Violations of Section 10(b) of the Securities Exchange Act of 1934 and
                             SEC Rule 10b–5 (Against All Defendants)
10
           175. Plaintiffs repeat, reallege, and incorporate by reference each and every
11
     allegation heretofore pleaded as if fully set forth herein.
12
           176. Throughout the Class Period, Colony Credit’s securities were listed on the
13
     New York Stock Exchange.
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           177. During the Class Period, Defendants made, disseminated, or approved the
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     false and misleading statements specified above.         The Defendants knew that such
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     statements, when made, were false and misleading, or were reckless in their disregard as
17
     to the truth of such statements, which contained material misrepresentations and failed
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     to disclose material facts necessary in order to make the statements made, in light of the
19
     circumstances under which they were made, not misleading.
20
           178. The Defendants violated Section 10(b) of the Exchange Act of 1934,
21
     codified as amended, 15 U.S.C. § 78j(b) and SEC Rule 10b–5, codified as amended, 17
22
     C.F.R. § 240.10b–5, because, in utilizing the means or instrumentalities of interstate
23
     commerce, including but not limited to the mails and the Internet, and/or the facilities of
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     the New York Stock Exchange, they directly or indirectly:
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                  (a)    employed devices, schemes or artifices to defraud;
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 1                (b)    made untrue statements of material fact or omitted to state material
 2   facts necessary in order to make the statements made, in light of the circumstances
 3   under which they were made, not misleading; and/or
 4                (c)    engaged in acts, practices, practices, and a course of business that
 5   operated as a fraud or deceit upon Plaintiffs and the members of the Class in connection
 6   with their purchases of Colony Credit securities during the Class Period.
 7         179. Plaintiffs and members of the Class have suffered damages in that, in
 8   reliance on the Defendants’ statements and the integrity of the market, they paid
 9   artificially inflated prices for Colony Credit’s securities. Plaintiffs and members of the
10   Class would not have purchased such securities at the prices they paid, or at all, if they
11   had been aware that the market prices of Colony Credit’s securities had been artificially
12   and falsely inflated by the Defendants’ false and misleading statements.
13         180. As a direct and proximate result of the Defendants’ wrongful conduct,
14   Plaintiffs and members of the Class suffered damages in connection with their
15   purchases of Colony Credit’s securities on the New York Stock Exchange during the
16   Class Period.
17                                     XI.     COUNT TWO
18              For Violations of Section 20(a) of the Securities Exchange Act of 1934
                                 (Against the Individual Defendants)
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           181. Plaintiffs repeat, reallege, and incorporate by reference each and every
20
     allegation heretofore pleaded as if fully set forth herein.
21
           182. Throughout the Class Period, Colony Credit’s securities were listed on the
22
     New York Stock Exchange.
23
           183. As alleged herein, the Individual Defendants acted as controlling persons
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     of Colony Credit within the meaning of Section 20(a) of the Exchange Act of 1934,
25
     codified as amended, 15 U.S.C. § 78t(a).         By virtue of their high-level positions,
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     ownership rights, contractual rights, participation in and/or awareness of the Company’s
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     operations, and/or intimate knowledge of the false financial statements filed by the
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 1   Company with the SEC and disseminated to the investing public, the Individual
 2   Defendants had the power to influence and control, and did influence and control,
 3   directly or indirectly, the decision-making of the Company, including the content and
 4   dissemination of the various statements which Plaintiffs contends are false and
 5   misleading. The Individual Defendants were provided with or had unlimited access to
 6   copies of the Company’s reports, press releases, public filings, and other statements
 7   alleged by Plaintiffs to be misleading prior to and/or shortly after these statements were
 8   issued and had the ability to prevent the issuance of the statements or cause the
 9   statements to be corrected.
10         184. In particular, each of these Individual Defendants had direct and
11   supervisory involvement in the quotidian operations of the Company and, therefore, is
12   presumed to have had the power to control or influence the particular transactions
13   giving rise to the securities violations as alleged herein, and exercised the same.
14         185. As set forth above, the Defendants each violated Section 10(b) of the
15   Exchange Act of 1934 and SEC Rule 10b–5 by their acts and/or omissions as alleged in
16   this Amended Complaint.       By virtue of their positions as controlling persons, the
17   Individual Defendants are liable pursuant to Section 20(a) of said Act. As a direct and
18   proximate result of the Individual Defendants’ wrongful conduct, Plaintiffs and other
19   members of the Class suffered damages in connection with their purchases of the
20   Company’s securities traded on the New York Stock Exchange during the Class Period.
21                              XII.    PRAYER FOR RELIEF
22         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
23         A.     Determining that this action may be maintained as a class action under
24   Rule 23 of the Federal Rules of Civil Procedure;
25         B.     Awarding compensatory damages in favor of Plaintiffs and the other
26   members of the Class against all Defendants, jointly and severally, for all damages
27   sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
28   including interest thereon;
                                       53
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 1         C.    Awarding Plaintiffs and the Class their reasonable costs and expenses
 2   incurred in investigating, bringing, and maintaining this action, including counsel fees
 3   and expert fees; and
 4         D.    Awarding such other and further legal or equitable relief as the Court
 5   deems just and proper.
 6                            XIII.   JURY TRIAL DEMANDED
 7         Plaintiffs hereby demand a trial by jury on all issues so triable in this Action.
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